                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

JEFFREY W. and GERMAINE W. ,
as Parents/Guardians/Next Friends of
Z.W., a Minor Individual with a Disability,
         Plaintiff-Appellant,

v.                                                                       Case No. SA-21-CV-0636-JKP

SCHERTZ-CIBOLO-UNIVERSAL CITY
INDEPENDENT SCHOOL DISTRICT,
         Defendant-Appellee.

                              MEMORANDUM OPINION AND ORDER

         This is an appeal from an administrative due process hearing under the Individuals with

Disabilities Education Act (“IDEA”). Before the Court is a sealed, certified copy of the adminis-

trative record made in Texas Education Agency special education hearing Docket No. 380-SE-

0719. See Certification of the Administrative Record (ECF No. 15).1 And in accordance with its

Briefing Order (ECF No. 12), the Court has under consideration (1) Plaintiff’s Motion for Judg-

ment on the Administrative Record (ECF No. 16), which the Court construes and considers as

Appellant’s Brief; (2) an Appendix of Plaintiff’s Statement of Material Facts (ECF No. 16-1); (3)

an Appellate Brief of Defendant Schertz-Cibolo-Universal City ISD (“SCUCISD”) (ECF No. 18);

and (4) Plaintiff’s Reply Brief (ECF No. 19). The parties have informed the Court that they are not

requesting additional evidence and there are no issues requiring expedited briefing or resolution.

See ECF No. 11. The appellate record is complete, and the Court is prepared to rule. After consid-

ering the full appellate record, the arguments of the parties, and the applicable law, the Court af-

firms the Decision of the Hearing Officer (R. 1-25) and finds that the preponderance of the


1
  The Administrative Record consists of five volumes. See R. 1-5546. The appealed decision, administrative pleadings,
and correspondence comprise Volume I. See R. 1-568. Volumes II through IV contain the proffered exhibits. See R.
569-744 (joint exhibits), R. 745-3193 (Plaintiff’s exhibits); R. 3194-3985 (Defendant’s exhibits). Volume V contains
transcripts of all transcribed proceedings. In general, the Court will cite to the administrative record generically as
“R.” with a page reference to the sequential page-numbering at the lower right-hand corner.
evidence supports finding that the challenged individualized education programs appropriately ad-

dress Z.W.’s educational needs and that the District was able to provide him a free appropriate

public education for the school years in question. Z.W. has not carried his burden to show other-

wise. Like the Hearing Officer (also referred to as Special Education Hearing Officer (“SEHO”)),

the Court thus has no need to address whether any private school or facility was an appropriate

placement and Z.W. is not entitled to reimbursement for his unilateral placements in private

schools or facilities.

                                            I. BACKGROUND

        At the time of this appeal, Plaintiff-Appellant Z.W. was a fifteen-year-old who qualified

for special education services with the Schertz-Cibolo-Universal City Independent School District

(“SCUCISD,” or “the District,” “Defendant,” or “Appellee”) under eligibility categories of Au-

tism, Intellectual Disability, Other Health Impairment, and Speech. R. 690. His parents brought

this appeal on his behalf. References to either parent, the family, or the parents refer to Z.W.’s

family or family members. This appeal concerns Z.W.’s Seventh (2019-2020) and Eighth Grade

(2020-2021) school years. The most relevant records thus concern those years; related Admission,

Review, and Dismissal Committee (“ARD” or “ARDC”) meetings; and formulated Individualized

Education Programs (“IEPs”), Full Individual Evaluations (“FIEs”), and Behavior Intervention

Plans (“BIPs”).2 But earlier records remain pertinent for background context and understanding

events preceding the relevant school years. R. 5.




2
  See R. 640-87 (June 12, 2019 ARDC with IEP for services June 12, 2019, through June 11, 2020 (reconvened from
May 24 and 31, 2019)); R. 690-741 (Nov. 19, 2019 ARDC with IEP for services June 12, 2019, through June 11,
2020); R. 1455-88 (Oct. 11, 2017 annual review of IEP, including FIE); R. 2417-61 (Nov. 5, 2019 Review of Existing
Evaluation Data (“REED”) and FIE); R. 3225-75 (Mar. 4, 2020 ARDC with IEP for services for June 12, 2019,
through June 11, 2020); R. 3278-3334 (Sept. 30, 2020 ARDC with IEP for services for Sept. 30, 2020, through Sept.
29, 2021). Although the parties submitted joint exhibits, they independently submitted the November 5, 2019 REED
and FIE. Compare R. 2417-61 with R. 3335-79.
                                                        2
A. Initial Enrollment and Early Student Records

       The District conducted its first FIE for Z.W. prior to his enrollment at school. See R. 750-

58 (FIE dated Dec. 5, 2008). It also held an initial ARDC meeting and formulated his initial IEP

to commence in January 2009. R. 774-93. During the subsequent years, the District continued to

evaluate Z.W. and provide special education services. See, e.g., R. 888-913 (Dec. 2011 ARD); R.

914-27 (Mar. 2012 ARD); R. 949-69 (Nov. 2014 Addendum to FIE); R. 971-1026 (Dec. 2014

ARD); R. 1076-98 (Apr. 2015 ARD); R. 1100-50 (Dec. 2015 ARD). During this time, Z.W.’s

private physician was Patricia M. Harkins, MD. See, e.g., R. 946-47.

       In Third Grade (2014-2015), Z.W.’s behavioral issues “became very much more serious,

much more problematic.” R. 4116. At that point, his parents often had to pick him up from school

early. R. 4116-17. Thus, “by around March and certainly into April 2015,” the parents were anx-

ious about phone calls to pick him up early. R. 4117. At an April 1, 2015 ARDC meeting, the

District considered changing its schedule of services to include homebound services. R. 1076. At

that time, school was “not the place for” Z.W. R. 1077. The committee agreed to provide home-

bound services and recognized that it was “normally 2 sessions of 2 hours.” Id. The recommended

schedule of services was to be in effect from April to December 2015, and included four hours of

homebound special education services, occupational therapy once per nine weeks for twenty-five

minutes, and speech services four times per nine weeks for thirty minutes. R. 1077-78.

       Z.W. became homebound educated on April 10, 2015, and remained in homebound ser-

vices for the remainder of the 2014-2015 school year. R. 928. He resumed full-time homebound

services in August 2015, moved to chronic homebound per recommendation of Dr. Harkins, and

attended school on an abbreviated schedule for the second semester of the 2015-2016 school year

(Fourth Grade). R. 1027.

       On December 2, 2015, the District conducted an annual review of Z.W.’s educational


                                                3
program. See R. 1100-41. It noted that he had “attended school for a full day and was in the ALE

[(Adaptive Learning Environment)] classroom until April of 2015 when he went homebound due

to severe behaviors.” R. 1101. The committee determined that Z.W. would “receive support as

needed in homebound, ALE and general education setting as applicable from the Student Support

Staff.” R. 1136. He would “continue full-time homebound until January 5,” 2016, and then “begin

attending the ALE program . . . with an abbreviated schedule (120 minutes per day).” Id. The

District would leave chronic homebound “available as needed.” Id.

       On December 28, 2015, Dr. Harkins recommended that the District readmit Z.W. “to class

for 1-2 hours per day as long as he can tolerate it.” R. 1150. She further recommended that he

“continue homebound education” if Z.W. was “unable to tolerate the classroom environment.” Id.

The parents hoped that Z.W. would be able to increase his school time as the semester progressed.

R. 4120. By the end of the semester, Z.W. had increased his school time by an hour each day, but

his behavior worsened. R. 4121. His parents decided to have him repeat Fourth Grade. R. 1155,

4121.They explained that they wanted him

       to remain at Schertz Elementary for the 2016-17 school year because, after many
       months of refusing to go to school, he is now willing to go to school at Schertz
       Elementary. Though he is still anxious, he is confident in his teachers and comfort-
       able enough in his surroundings. He has made good academic and social progress,
       and we think he will continue to do so by staying at this school.
R. 1157. His teacher, Teresa Gooch, recognized the behavioral challenges with Z.W., saw pro-

gress, stated a future goal “for him to be at school all day,” and agreed that at that time, “it would

be best for [him] to stay here at Schertz Elementary for the 2016-2017 school year so that he can

continue to make progress academically, behaviorally, and socially.” R. 1158. The parents com-

plimented her regarding her instruction and wanted Z.W. retained in the Fourth Grade so that he

would be able to stay with her. R. 5266.

       For the retained Fourth Grade year (2016-2017 school year), Z.W. “qualified for chronic


                                                  4
homebound but never accessed homebound.” R. 1152. When he began that school year, the District

placed him “in the ALE classroom . . . for a couple of hours a day.” R. 5260. On September 9,

2016, the District revised Z.W.’s annual ARD, and based on recommendation of Dr. Harkins it

extended Z.W.’s school schedule by thirty minutes. R. 1159. Z.W. would thus “attend school from

7:40AM – 10:00AM,” with homebound as a continued option as needed. R. 1159-60. The District

amended the December 2015 IEP to be implemented on September 26, 2016. R. 1169. This amend-

ment was to increase Z.W.’s school day within his abbreviated schedule and to update transporta-

tion services consistent with the ARD revision. Id. At that time, the District noted that Z.W. “con-

tinues to make great progress.” Id.

       The District conducted an annual review regarding Z.W. on December 14, 2016. See R.

575-616. At that time, transitional services were “not age appropriate” and Z.W.’s behavior did

not impede his learning or that of others. R. 578. The District noted that the next-year services

would be provided at Jordan. R. 616. It also set out his “Present Levels of Academic Achievement

and Functional Performance” (“PLAAFP”) regarding reading, speech and related services, occu-

pational therapy, written expression, math, behavior, functional, and other (Science/Social Stud-

ies). R. 576-77.

       At that point, Z.W. could read “approximately 30 sight words” and was reading at the end

of kindergarten/beginning first grade level “as long as there w[ere] pictures with it.” R. 5262.

Ninety percent of the time, he could “answer comprehension question[s] when given [three

choices] that ha[d] visual/word pairing. R. 576. With choices, he was “identifying new vocabulary,

plot, and character interaction” seventy percent of the time. Id.

       With respect to writing, Z.W. could “trace words, numbers, and sentences 80% of the

time”; was “forming upper and lower case letters legibly using basic conventions of print 25% of

the time,” and when “reminded to slow down” and “given 3 choices,” he was “able to choose the


                                                 5
correct editing for capitalization and punctuation (period or question mark) 6 out of 10 opportuni-

ties.” R. 577. He could write his name and copy words or sentences independently. R. 5263. He

knew his letters. Id.

         Z.W. also knew his numbers. Id. He could “rote count 1-100 with a visual or verbal cue.”

R. at 577. He “was able to do one-to-one correspondence” and “could add or subtract double-digit

numbers without regrouping using manipulatives.” R. 5262. He was “adding/subtracting 7 out of

10 opportunities.” R. 577. He could identify and use “patterns to solve problem and data.” Id. He

was “using measurement to solve problem and identifying temperature and time 50% of the time.”

Id. Seventy percent of the time he could “identify one and two-dimensional geometric figures.” Id.

         Behaviorally, Z.W. “had his good days and his bad days.” R. 5264. But his special educa-

tion teacher, Ms. Gooch,3 testified that she “was able to extinguish all of his behaviors” seventy

percent of the time, and he could also “self-regulate his behaviors.” Id. He acted out and had be-

havioral issues, but he made progress on his behavior during the fall semester of 2016. Id. She had

never needed to restrain him or place him in isolation. R. 5264-65. She would use visual supports,

every teaching strategy that she had at her disposal, including ABA (applied behavioral analysis)

strategies and a structured room. R. 5265. He responded very well to her strategies. Id.

         Z.W. withdrew from school in December 2016. R. 1152. The family temporarily moved to

England that month and returned in April 2017. R. 4122-23, 5043, 5265-66. Although Z.W. was

still in Fourth Grade when he returned from overseas, R. 4123, he did not return to the District for

the rest of that school year, R. 5266.



3
  Ms. Gooch has a psychology degree, and at the time of the administrative hearing on December 14, 2020, she was
an “EC through 4 general ed teacher and EC through 12 a special ed teacher,” who had “been teaching for fifteen
years.” R. 5258. She was a certified teacher who had worked fifteen years working with autistic students. Id. At that
time, she had worked with students with intellectual disabilities for thirty-five total years. Id. She gained the additional
twenty years of experience as a mother with an intellectually disabled child. R. 5259. She knew Z.W. from teaching
in his special education classroom from kindergarten through Second Grade, and then again in the Fourth Grade. R.
5260. She was also his teacher during the 2016-2017 school year. Id. Z.W. was not “the most behaviorally challenged
student that [she had] been involved with or instructed.” Id.
                                                             6
       In June 2017, the District explained that reenrolling a student who had previously with-

drawn requires the District “to do a transfer ARD/meeting to discuss, agree upon and put in place

special education services.” R. 1185. During the summer of 2017, the plan was for Z.W. to attend

school for “2+ hours per day.” R. 1178. The parents were requesting an ARDC meeting for August

2017, but did not think it would “be a marathon ARD, as we were likely trying to pick up with the

same schedule / routine / services that we left off with in December.” R. 1180. The District agreed

that this would not likely be “a marathon ARD meeting,” given the meeting held “close to end of

this past school year.” Id. At that point, Z.W.’s most recent ARD was December 2016. R. 1185.

       On June 13, 2017, Dr. Harkins requested that, “[e]ffective August 28, 2017,” Z.W. be re-

admitted “to class for 2-4 hours per day as long as he can tolerate.” R. 3983. She recommended

that homebound education continue if he was “unable to tolerate the classroom environment.” Id.

       In August 2017, Z.W. returned to the school District. R. 4542. Transitioning to the Fifth

Grade (2017-2018 school year), he was at a different location within the District (Jordan Interme-

diate) with different teachers and staff. R. 4123-25. Although the parents started him with only a

couple of hours a day at school with a plan to build from there, the results were “absolutely disas-

trous” according to the mother. R. 4125. On September 25, 2017, the parents requested to “resume

homebounding” because “continued attempts to bring [their son] to school will result in increased

anxiety and greater frustration.” R. 1196. Z.W. thus returned to homebound services. R. 4127.

       The District provided homebound services in October 2017. R. 1434-43. During this place-

ment, Z.W. was scheduled to receive four hours of instruction each week, but he often received

less—on average it was maybe one or two hours a week, due to scheduling issues. R. 4128. Z.W.

did not react well to homebound placement, “he was extremely agitated,” he would not cooperate,

and he would run away to another room or outside. Id.

       The District annually reviewed Z.W.’s program on October 11, 2017. R. 1455-88. This


                                                 7
review included an updated FIE. See R. 1455. A review of available and existing evaluation data

indicated that no new testing was required for the FIE. Id. In late October 2017, the parents re-

quested that the District place Z.W. at a private school, One for Autism (“OFA”). R. 618, 1402.

By email dated November 2, 2017, the parents gave formal notice of their “intent to disenroll [him]

from the District on Monday, November 13, 2017,” and “unilaterally place [him] with One For

Autism.” R. 1402. The parents ultimately enrolled him in at OFA for sixth and seventh grades. R.

4128-29.

       On November 8, 2017, the District summarized the annual review and stated that Z.W.

“would continue to have homebound instruction when he is unable to attend Jordan as per the

recommendation from Dr. Harkins.” R. 1489. The District stated that it “is ready, willing and able

to provide homebound instruction if [Z.W.] is unable to attend school on campus.” Id.

       The District revised its annual ARD on November 17, 2017. R. 617-24. In response to the

parents’ request about placement at OFA, the District reiterated that it “can provide much more

appropriate services in the least restrictive environment for [Z.W.].” R. 618. It explained that, due

to the nature of autism, it was “important that [Z.W. have] nondisabled peer models to enhance his

communication and social skills.” Id. It stated that OFA lacked “any age-appropriate non-disabled

peers” and lacked the ability for Z.W. “to generalize these skills.” Id. It recognized correspondence

from the parents dated November 11, 2017, that Dr. Harkins was “no longer recommending an

abbreviated schedule with the combination of homebound instruction.” Id. As of that date, Z.W.

was “attending One for Autism on a full-time basis.” Id. Given the new information and recom-

mendation from Dr. Harkins, the committee recommended that Z.W. “attend a full day of school”

with an increase in “additional goals and objectives.” R. 619. The parents disagreed with the dis-

trict recommendations and “stated they are withdrawing [Z.W.] effective November 17, 2017, and

will be seeking district reimbursement for private school tuition.” Id.


                                                 8
B. Agreed Enrollment at Private Facility and Request for Continued Enrollment

       Through a negotiated settlement agreement of the parties, Z.W. attended One for Autism

(“OFA”) for the 2017-2018 and 2018-2019 school years. R. 572-74. Despite starting at OFA in

October 2017, his first good month was February 2018. See R. 4172. And as of August 2018, his

aggression had his parents looking for different options. See R. 3499.

       On March 6, 2019, Circle of Care (“CoC”) reevaluated the occupational therapy (“OT”)

needs of Z.W. because staff at OFA were “concerned about aggressive behavior, social skills, [and]

fine [m]otor skills.” R. 2318. At that time, the recorded criterion for discharge from OT was achiev-

ing “maximum functional benefit from therapy in progress or will no longer benefit from addi-

tional therapy.” R. 2327. Just twelve days later, however, CoC discharged Z.W. from OT “due to

aggressive behaviors.” R. 644, 2330. Upon discharge, CoC noted that Z.W. would benefit from

“ABA Therapy where [he] can receive 1-on-1 attention from an RBT [(registered behavior tech-

nician)] under a BCBA [(board certified behavior analyst)].” R. 2334.

       On April 22, 2019, the parents provided notice to the District that they “intend[ed] to con-

tinue [Z.W.’s] enrollment at One for Autism, as he [wa]s making meaningful progress as a result

of his attendance there, and [requested] that the District place [him] at One for Autism, or reim-

burse [them] for the cost of tuition and transportation in connection therewith.” R. 3938; accord

R. 2063-64. Among other things, the parents stated that “[h]is initial trial period was a resounding

success, and [Z.W.] has continued to thrive at his new school,” R. 3937, and he had “made more

progress at One for Autism in 16 months than he did in almost 9 years’ enrollment with the Dis-

trict,” R. 3938. The District responded to that notice by (1) requesting to evaluate Z.W. with pro-

cedural safeguards, (2) providing a prior written notice of evaluation with an attached consent

form, (3) seeking consent to allow District staff to visit with OFA staff and observe Z.W. at the

private program, and (4) informing the parents that the District would need to schedule an ARDC


                                                 9
meeting because of the request for summer services, also known as extended school year (“ESY”)

services. R. 3391.

       OFA provided a one-page report of Z.W.’s PLAAFPs as of May 2019. See R. 3518. At that

point, he could “read various simple structured words,” “identify all of the alphabet and numbers

1-100,” “count to 20 without visuals or assistance,” and “match letters to a corresponding picture

with the correct beginning sound.” Id. He also knew “his colors and shapes”; “demonstrate[d]

correct pencil grip”; and could trace lines and shapes, “write his name with assistance,” and inde-

pendently “run, walk, jump, kneel, and hop.” Id. But, with respect to reading and language arts, he

“struggle[d] with reading complex sentences” and had “only worked on simple sight words.” Id.

As to math, he had “only worked on simple addition,” “struggle[d] with 1:1 correspondence,” and

had difficulty “associating one tactile with one number.” Id. He was also “unable to independently

trace letters and numbers to completion.” Id. His aptitudes for science and social studies were

unknown. Id.

       OFA recognized that Z.W.’s “behavior has been the main impact on his academics.” Id.

He had “been unable to perform at grade level” due to his aggression. Id. He “struggle[d] with his

desires and wants,” sometimes fixating on people or things. Id. This could “cause an outburst of

aggressive behavior.” Id. OFA concluded its one-page recitation of academic achievement and

functional performance with: “If he develops a relationship with a staff member, he is more likely

to behave for them. [Z.W.’s] academic performance will increase once his behavior is better man-

aged.” Id.

C. ARDC Meetings Regarding ESY Services in 2019

       On May 24, 2019, the District convened an ARDC meeting, which was reconvened on

May 31 and June 12, 2019. See R. 570; 640-87 (complete record of ARDC and resulting IEP). The

numerous attendees on May 24, 2019, included the parents and the Executive Director of OFA,


                                                10
Olga Vasquez-Silva. R. 665-66. The purpose of the meeting was to discuss the student’s program-

ming “at OFA and then to determine programming for extended school year services.” R. 666.

Time permitting, the participants would discuss the “programming for next academic school year.”

Id. The parents, however, were “not prepared to discuss placement for next [academic] year,” and

wanted to discuss such placement after a complete evaluation. Id.

        Ms. Vasquez-Silva stated that OFA provides Z.W. “therapy 3x-4x per week with a behav-

ior technician for one hour sessions”; and the parents privately fund OT “once per week for 30

min[ute] sessions” and speech therapy “two times per week for 30 minutes.” Id. As of May 24,

2019, the District lacked sufficient information to propose summer services or to develop an ap-

propriate IEP. See id. “Although the district ha[d] previously requested data from OFA, it was just

provided at the beginning of th[e] meeting and the evaluators ha[d] not had time to review” it. Id.

It thus proposed continuing the meeting to the next week. R. 667. And, according to Ms. Vasquez-

Silva, OFA “agreed to help transition [Z.W.] back” to the District, it did not do so for unknown

reasons.4 R. 4686.

        On May 28, 2019, District staff, Leah Heeter (a licensed specialist in school psychology

(“LSSP”) and Dione McDowell (District Instructional Coach for Autism/Behavior) observed Z.W.

for approximately ninety minutes. R. 2440. This observation took place at OFA. R. 5103. During

this time, Z.W. exhibited various behavioral issues, including spitting, throwing items, shouting,

and banging his head. R. 2440. He had to be restrained. R. 5114. Ms. Vasquez-Silva recalled that

Z.W. had “a meltdown” and had to be restrained when the District came to observe him at OFA.

R. 4687.

        The father and others attended the reconvened meeting on May 31, 2019, but no one




4
 While there was some confusion as to which ARDC meeting she attended, Ms. Vasquez-Silva clearly stated that she
only attended the meeting where OFA agreed to assist with Z.W.’s transition. See R. 4686-88.
                                                      11
affiliated with OFA attended. See R. 667. The participants discussed objectives and goals for ESY

and the 2019-2020 school year. Id. With the exception of the parent, the committee determined

that ESY “services can be provided at a placement within the school district” and that the “goals

and objectives could be implemented in the Adapted Learning Environment (ALE) class in Schertz

for the 2019-2020 school year.” Id. The father disagreed with the proposed placement location and

“stated that he wants the school district to place [his son] at One for Autism or reimburse the

parents for placing [the student] at One for Autism.” R. 668. In light of the disagreement, the

committee agreed to continue the meeting so that both sides could “gather additional data in order

to reach an agreement.” Id.

       District staff again observed Z.W. at OFA on June 4 and 12, 2019. R. 2440, 5103. The first

observation was limited to an outburst by Z.W. culminating with him throwing a CD player and

his shoes, spitting, and being restrained by OFA staff. R. 2440, 5195-97. The next observation

session fared better. See R. 2440-41. For about one hour, District staff conducted “a one-on-one

behavioral therapy session” with five-minute breaks. R. 2440. Z.W. “appeared happy” during

break times, “as he smiled, laughed, squealed in excitement, and made statements such as ‘I’m so

happy’ or ‘so cute.’” R. 2440-41. During this time, staff observed him working in “an environment

with auditory distractions such as a loud air conditioner, noises coming from an adjoining room

and a constant chirping sound coming from an electronic device such as a smoke detector.” R.

2441. He was also “able to continue working when other students or staff members entered the

room.” Id. After the first hour, Z.W. initially transitioned easily to another room, but became upset

that he was unable to bring some items from the prior room. Id. This resulted in him running “to

the quiet room” where he was observed throwing items and spitting. Id.

       The father again attended the reconvened meeting on June 12, 2019, without any repre-

sentative from OFA. See R. 668. Kimberly Ferguson, Assistant Director of Special Education for


                                                 12
the District, also attended. Id. She first became involved with Z.W.’s educational program that

month and the June meeting was the first she attended for him. R. 4542. She stated that OFA did

not provide requested behavioral data. R. 4543. Nor did it ever provide a behavior intervention

plan. R. 4545. The District’s proposed program included a behavior intervention plan. R. 646. The

District “proposed occupational therapy, speech therapy, transportation services, and behavioral

support.” R. 4545, accord R. 641-42 (noting that Z.W. was not currently “receiving Speech Ser-

vices at One for Autism”); 644-45 (noting that Z.W. had been discharged from OT services at

OFA); 646, 662-63, 665.

       Despite various concerns expressed by the father, the committee, with the exception of the

father, agreed to placement and schedule of services. See R. 669-72, 5200. The District discussed

an autism supplement. R. 5200. It offered “in-home training” and “parent training,” which the

father declined. R. 5200-01. It asked to consult with the student’s physician, but the parents did

not give consent. R. 5201. It discussed the strategies to be used with Z.W. R. 5201-02. It discussed

transitioning Z.W. from OFA back to the District. R. 5203. It wanted to make the transition “as

predictable as possible”; it “had teachers develop transition books, social narratives to help calm

him when he became frustrated”; and it discussed “creating a very structured environment” in

addition to OFA staff coming to the District to assist as well as District staff going to OFA so that

Z.W. “could build a rapport with the people that would be providing services.” R. 5203-04. The

committee recorded the combined results, recommendations, and discussions from the May-June

meetings. See R. 640-87. Among other things, the ARDC meeting resulted in ESY services to be

in effect from June 12, 2019, through June 11, 2020. R. 662. Nevertheless, an additional evaluation

was needed before completion of a new FIE. See R. 665, 717.

D. Subsequent Developments in 2019

       The family traveled to Europe for two weeks from “mid-June to late-June.” R. 5066-67.


                                                 13
Z.W. attended OFA both before and after that vacation. R. 5066-68. Z.W. did not attend SCUCISD

for ESY services. R. 5204. Nor were District staff allowed to go to OFA to build a rapport with

Z.W. Id.

       The parents commenced litigation in July 2019 while Z.W. was attending OFA. R. 5065;

see also R. 2 (noting that the Texas Education Agency (“TEA”) received the request for due pro-

cess hearing on July 30, 2019, and an initial scheduling order was issued on August 1, 2019); R.

30 (Notice of Filing); R. 31-42 (Request for Due Process Hearing). By email dated August 13,

2019, the father sought medication changes from Z.W.’s treating physician, Dr. Harkins, because

Z.W. had “had meltdowns 10 out of the last 14 days between 12:30-1:00 pm,” which “are espe-

cially problematic at school.” R. 3503.

       From September 3 through 11, 2019, Z.W. was hospitalized at Clarity Child Guidance

Center (“Clarity”). R. 2496. Severe aggressive behavior prompted the hospitalization. R. 2495. At

that time, One For Autism “acknowledged that they could no longer manage him in the regular

class environment” and he had become “virtually ungovernable at home.” Id. His return to school

lasted less than an hour before his behavior compelled his father to remove him. Id. After Ms.

Vasquez-Silva called his father about the last outburst, Z.W. did not return. R. 4684. He did not

attend OFA anymore because his “behaviors were just really intense.” R. 4685.

       On September 16, 2019, the father relayed additional information to Dr. Harkins. See R.

3505. At that time, Z.W. was experiencing “severe aggression” and the father was looking for an

appropriate hospital to place him because the hospital that had released him a week earlier lacked

an open bed for Z.W. Id. The father also informed the doctor that “they were not going to take

[Z.W.] back to One for Autism . . . where his meltdown [had] began [that] morning” and they were

looking for school recommendations from the doctor. Id. A medical report dated that same date

notes worsening and uncontrolled aggression and anger outbursts by Z.W. R. 3506. Also on that


                                               14
date, Z.W. was hospitalized for a second time at Clarity, until September 26, 2019. R. 2496. Upon

discharge, Clarity noted that “ABA therapy arranged at school.” R. 2101. It instructed: Z.W. “will

discharge home and follow-up with Dr. Harkins, One for Autism, and Empower [Behavioral

Health (“Empower”)] (for intensive ABA therapy in home and at school).” Id.

       A due process hearing was initially set for October 1, 2019, but was reset for mid-February

2020. R. 3. Two days later, Empower conducted its initial evaluation and set an initial treatment

plan to commence on October 23, 2019. R. 2405. It noted that the parents’ “main concerns” were

Z.W.’s “severe aggression and difficulties with transitioning.” R. 2406. It further noted:

       Unfortunately, skill acquisition is limited because his aggressive and disruptive be-
       haviors interfere with learning. In addition to behavior reduction, [the] parents have
       indicated that they would like assistance with increasing independence for adaptive
       skills such as hygiene (e.g., showering), doing laundry, washing dishes, meal prep-
       aration, fine motor skills ; and increasing functional communication. Receiving
       full-time ABA services is the last attempt for [them] before they consider placing
       [Z.W.] in a residential setting.
Id.

       By letter dated October 9, 2019, Dr. Harkins sent a letter of medical necessity to Blue-

Cross/BlueShield stating that Z.W. must “receive 40 hours a week of ABA therapy . . . with 2

technicians due to his aggression.” R. 3511. At that time, the doctor indicated that “[a]ll medical

options ha[d] been exhausted, including hospitalization, prescription medications, and medical

marijuana under the compassionate care act.” Id. The doctor opined that “ABA therapy is the most

likely treatment to have a positive effect” and that absent “such full time ABA therapy, placement

at a residential treatment center will be the only other option.” Id. Z.W. “was unable to attend One

for Autism during the months of September and October due to his aggressive behavior.” R. 2462.

       District staff evaluated Z.W.’s speech and language skills on October 14, 2019. R. at 2441.

With three five-minute breaks, Z.W. participated in the assessment for approximately thirty

minutes. Id. “He became briefly agitated when told that he could not have a screw driver, but


                                                15
accepted this response without further incidence.” Id. During the third break, he exhibited aggres-

sive behavior, becoming calmed “by his father when he told [Z.W.] that testing would be discon-

tinued.” Id.

       The next day, an occupational therapist was unable to evaluate Z.W. “at the Marion Dolford

Learning Center” due to a “parent request” to reschedule due to behavior. R. 2427. This evaluation

went “very poorly,” not even “able to start” formally. R. 5034. It ended when staff greeting Z.W.

in the parking lot resulted in aggressive behavior, such as spitting and throwing shoes. R. 5037. A

rescheduled evaluation for October 18, 2019, was also not completed on parent request due to

behavior. R. 2427, 5039-41. The parent also “requested no further rescheduling.” R. 2427.

       At some point in October 2019, after Z.W. had left OFA, his father indicated that his son

would transition to the District. R. 4329. But Z.W. did not appear as planned, possibly due to

another hospitalization at Clarity. R. 4330, 4370.

       Z.W. was again hospitalized at Clarity from October 20 to 27, 2019. R. 2496. During this

hospitalization, SpringBrook Behavioral Health (“SpringBrook”) “had an unexpected opening in

one of their units” that permitted Z.W. to transfer there “for full-time inpatient/residential care.”

Id. It was noted that: “It is anticipated that [Z.W.] will continue to require residential placement in

connection with any future ‘step-down’ or discharge from SpringBrook, in order to be assured that

his aggressive behavior has fully abated.” Id.

       SpringBrook admitted Z.W. on October 28, 2019, because he was (1) “at immediate risk

of psychiatric hospitalization”; (2) a threat to himself or others; (3) unable to “be successfully

maintained in a less restrictive setting,” and (4) engaging in persistent behavior despite “docu-

mented interventions.” R. 1553. Despite these reasons for admission, SpringBrook did not draft a

BIP for Z.W. until April 2020, and Kevin Loeb, BCBA at SpringBrook, did not recall receiving

one from OFA upon admission. R. 4937. Upon Z.W.’s admission, Dr. William M. Fisher began


                                                  16
treating him. R. 1553, 3879. Springbrook is located in South Carolina. R. 2633, 3253, 4784. It “is

the highest level facility . . . a locked facility with . . . a very restrictive and controlled environ-

ment.” R. 4797. It offers “a holistic approach to treating children with autism and concurring dis-

orders.” R. 4784. It has “a very integrated mult-disciplinary team of occupational therapists, rec-

reational therapists, mental health therapists, BCBAs, dieticians . . . a wide variety of services to

work with children that may have severe behaviors that have kind of removed them from their

normal environment.” Id. It has an educational component provided by Einstein Academy with a

student-teacher ratio of one to ten. R. 4785. When a “student comes with an IEP,” SpringBrook

“incorporate[s] that into the treatment.” R. 4789. The ultimate goal is “to decrease the intensity of

behaviors that they have come in with” and to “provide them the skills necessary to transition to a

less restrictive environment.” R. 4790. Dr. Harkins considered placement at SpringBrook as “hos-

pitalization.” R. 4399-400.

        On special request of the ARDC, the District reevaluated Z.W., completing the process on

November 5, 2019. R. 3335. At that point, the District had a new FIE for him. See R. 2460, 3335.

The newly completed FIE would remain in effect through November 4, 2022. See R. 690. Partici-

pants of the multidisciplinary team consisted of two LSSPs, an occupational therapist, a speech

language pathologist, and a physical therapist. R. 3376. LSSP Heeter emailed the parents a copy

of the reevaluation on November 12, 2019, informing them to contact her if they had questions or

concerns. R. 3469. She received no response from the parents. R. 4315.

        Given the reevaluation and its new FIE, the District convened another ARDC meeting on

November 19, 2019. R. 717-18. Based on the reevaluation, Z.W. continued to be eligible for spe-

cial education services as a student with Autism, Speech Impairment, and OHI (other health im-

pairment), while also qualifying for special education services as a student with an Intellectual

Disability (“ID”). R. 718. The father attended and expressed concerns, objections, and


                                                  17
disagreements. R. 717-19. He disagreed with placement at the school district and sought “reim-

bursement for the residential facility and One for Autism and his transportation to and from the

facility and incidentals.” R. 719. Following the meeting, he stated that he and his wife “would like

to reconvene after district staff have observed [Z.W.] at his current residential facility.” Id. The

committee recorded the results, recommendations, and discussions from the November meeting.

See R. 690-741.

       The District recommended that ID eligibility be added based upon testing showing Z.W.’s

overall IQ was 48. R. 718. The father reserved his right to comment on the addition at a later time.

Id. The District recommended OT and speech therapy but determined that Z.W. did not qualify for

physical therapy. Id. The District reviewed the results of its Functional Behavioral Assessment

(“FBA”), stated that a BIP remained appropriate, but wanted to update the FBA once Z.W. began

attending school. R. 719. With the exception of the father, the ARD committee agreed that the

District could meet all of Z.W.’s educational needs and provide him with a free appropriate edu-

cation in the least restrictive environment at SCUCISD. Id. The father indicated that Z.W. was

“receiving 16 hours of academics in a seven-day week at [SpringBrook].” Id. He disagreed “with

placement at the school district” and stated that he was seeking incidentals, reimbursement for the

residential facility and OFA, and his transportation to and from both. Id. The District offered the

father a ten-day recess, to which he indicated that he would “get back with the district.” Id.

       After the ARD, the father emailed “that he and his wife disagree with adding the eligibility

category of intellectual disability,” they wanted “to wait to reconvene after district staff have ob-

served [their son] at his current residential facility.” Id.; accord R. 3475. Via email, the District

clarified that Z.W.’s “primary eligibility would remain autism, with a secondary intellectual disa-

bility.” R. 3474. The father responded by email:

       Although I heard you say at least twice “in my professional opinion”, I don’t see
       that you are qualified to render a diagnosis. No evidence exists that suggests [our
                                                 18
       son’s] autism and related anxiety is not at the root of the challenges that he is facing.
       Moreover, no data exists that indicates that a change in the classification is war-
       ranted, and you have not articulated the denial of any service if he is not classified
       as eligible due to intellectual disability. We disagree with the proposed classifica-
       tion for eligibility of “intellectual disability” and request that the classification of
       “Autism” as the sole and primary source of eligibility remain. There is simply no
       reason to include “intellectual disability” at this time and we are deeply suspicious
       of the district’s motives for proposing it, especially when we are in the middle of
       litigation- is the district using the ARD as a pretext for reclassifying [our son in] a
       manner that will be favorable to the district?
Id.

       On November 30, 2019, SpringBrook created an Individualized Service Plan (“ISP”) for

Z.W. See R. 2651-58. SpringBrook uses ISPs because it is “not allowed to produce IEPs.” R. 4802.

At that time, Z.W. enrolled at Einstein Academy at SpringBrook. R. 2651. Services provided

weekly for a normal school year consisted of 150 minutes each for reading/English language arts

and writing and 300 minutes each for math and specialized instruction for behavior. R. 2657. This

amounts to ten total hours of academics. R. 4802-03. And “even of those hours,” Z.W. did not

always participate due to his behavior. R. 4803.

       In December 2019, Dr. Fisher conducted a Mental Status Exam and set out his Current

Behavioral Observations regarding Z.W. See R. 2491-93. In conjunction with that process, he also

set out the relevant background and developmental information regarding Z.W., including relevant

hospitalizations. See R. 2494-96.

E. 2020 Developments

       Despite his prior email and the reservations stated therein, the father requested an assess-

ment by Intellectual and Developmental Disabilities Services (“IDDS”) from Alamo Area Council

of Governments (“AACOG”) to determine whether Z.W. “meets the eligibility criteria for Priority

Population services as specified by the Texas Department of Aging and Disability Services.” R.

2629. On January 6, 2020, IDDS conducted a diagnostic interview and a psychometric assessment.

Id. With respect to intellectual functioning, a November 21, 2019 Greenville Assessment and

                                                  19
Learning Specialists Psychological Assessment Report showed an IQ of 47, while the District’s

November 5, 2019 report showed an IQ of 48. R. 2631-32. IDDS accepted the current report and

found the “scores are consistent with Intellectual Disability.” R. 2632. It concluded that Z.W. met

“the diagnostic criteria for Intellectual Disability” and found him “eligible for available and ap-

propriate Priority Population services.” R. 2633.

       District personnel visited SpringBrook on January 28, 2020. R. 3253, 5204. Although the

District asked to observe Z.W. “for two days in his classroom environment,” it was allowed one

hour for observation in an apparent non-classroom setting. R. 5204-05. It observed about fifteen

students “participating in a musical chairs activity.” R. 5205. It observed no use of ABA strategies,

visual supports, or calendars. Id. The room did not appear “structured in any way.” Id. It observed

a staff member tickling Z.W. when he got frustrated with another student and told him to shut up.

R. 5206. The tickling was concerning because it seemed to be “a preferred activity” or “reinforcer”

for Z.W., but used in the manner observed, it “reinforced the behavior of telling his peer to shut

up.” Id. During the observation period, SpringBrook staff never “discussed appropriate behavior

or replacement behaviors” for Z.W. Id. Staff interacted with Z.W. verbally. Id. No one at Spring-

Brook indicated that they had a BIP or that they had gotten one from OFA. Id.

       District staff met with SpringBrook staff for “less than an hour.” R. 5207. A BCBA over-

sees the SpringBrook program. R. 3233. The BCBA, Kevin Loeb, “shared that when [Z.W.] ar-

rived there he was able to write his name, but that he had significantly regressed and was not even

able to write his name at that point anymore.” R. 5207. He indicated that SpringBrook was not

educationally focused. R. 3253, 5207. Its focus was “on what [wa]s happening at the home,” R.

3253, and medical or medication management, R. 5207. It did “very minimal educational things

and [Z.W.] ha[d] regressed educationally on his goals and objectives.” R. 3253. It “stated that the

mother appear[ed] to be a trigger for [Z.W.’s] behavior.” Id. It felt she was a trigger “due to her


                                                 20
anxiety about” her son. R. 3233. It believed that the District could provide an education for Z.W.

R. 5207-08. The District team “recommended a plan to transition [Z.W.] back to school with ad-

ditional support.” R. 3233.

       In February 2020, the parents filed an amended request for a due process hearing related

to their son’s individualized education program for the 2019-2020 school year. R. 2, 140-56. That

amendment initially resulted in rescheduling the due process hearing to April 2020, but in March

the hearing was reset to June 2020 “to accommodate the parties participating in mediation.” R. 3.

       The parties participated in an informal resolution session on March 4, 2020. R. 2. And, on

that same date, the District held an ARDC meeting to review the disputed IEP. R. 3225-75. The

father participated by phone. R. 3253. Z.W. still met the criteria for a need for special education

and related services through his autism, speech impairment, intellectual disability, and other health

impairment. R. 3225. Because Z.W. was at a residential facility and had “not attended public

school in several years,” the ARD committee revised the transition plan to increase the amount of

support upon his return to SCUCISD. R. 3266. Although the District “offered a parent training

assessment,” the father declined “at this time.” R. 3253. The father “stated that home is the concern

and that [his son was] getting more education at the facility than if he was just at home.” Id. He

believed that his son needed “to be residentially placed and want[ed] to place him at a residential

facility in Texas.” R. 3254. “The ARD ended in disagreement.” Id.

       SpringBrook drafted its first BIP for Z.W. in April 2020. R. 4937. Because the BIP is “al-

ways subject to being changed and revised based on new information,” the plan is “never a really

completed document,” and SpringBrook did not draft any other BIP for Z.W. R. 4938.

       On June 11, 2020, Z.W.’s case was reassigned to a different hearing officer, resulting in

rescheduling the due process hearing to September 29, 2020, with a pre-hearing conference set for

September 4, 2020. R. 3.


                                                 21
       From June 26 through October 20, 2020, SpringBrook placed Z.W. in seclusion twenty-

two times and injected him with Haldol four times. R. 4822, 4826. In this context, seclusion means

being “locked in a room” alone. R. 5209. This number of seclusions was a reduction from prior

months. R. 4826-27.

       While Z.W. resided at Springbrook, a Psychiatric Residential Treatment Facility (“PRTF”)

Interdisciplinary Team conducted periodic reviews to reformulate his plan of care. See, e.g., R.

1643. On September 3, 2020, the team provided five rationales for Z.W. continuing his stay in the

PRTF: (1) “Need for continued active psychiatric treatment by a multidisciplinary team”; (2) “Cli-

ent is danger to self or others”; (3) “Client continues to exhibit acute behavior, mood or thinking

disturbance”; (4) “Physical/Mechanical restraint or Seclusion is necessary”; and (5) “Inability to

maintain psychiatric hospital service level of functioning on trial visit outside of the psychiatric

hospital.” Id. None of these stated rationales involve education.

       At the prehearing conference of September 4, 2020, the parties jointly requested to resched-

ule the due process hearing for “less than a month” because they had discovery to resolve. R. 3.

On September 10, 2020, the District emailed a representative of the family to notify them that the

District was “seeking to schedule an ARD for Z.W. on September 30th at 1:40 pm” and expressed

hope that the representative or client “would be available for this ARD.” R. 3117. The representa-

tive’s response (1) pointed out that, “once a due process has been filed, the mechanism for resolv-

ing any dispute is through a resolution session or mediation,” (2) stated that her “clients have

attended numerous unsuccessful ARDS since filing of their request for hearing and have no rea-

sonable expectation now that his ARDC will be successful otherwise,” and (3) requested that the

ARD “be postponed until the conclusion of [the due process] hearing.” R. 3116. The next day, the

Hearing Officer set the due process hearing for October 26, 2020, with the agreement of the parties.

R. 3. The day after that the father again requested to postpone the ARD to after the due process


                                                22
hearing and expressly declined to give the District permission to proceed with the ARD on the date

or time requested. R. 3116.

       On September 17, 2020, the District informed the parents that, because Z.W.’s current “IEP

was for the 2019-2020 school year,” it needed “to hold an ARD meeting for [his] 2020-2021 pro-

graming.” R. 3115. While it expressed a desire for both parents to attend the ARD, it stated that

the “meeting will need to go forward . . . [on] September 30, 2020, at 1:40.” Id. That same day,

the father asked: “So, you are not even able to postpone the meeting by a month?” Id. And, on

September 28, 2020, the father reiterated his request for a postponement and continued to object

to holding the ARD on September 30, 2020. Id.

       On September 30, 2020, the District held an ARDC meeting and formulated an IEP for

Z.W. See R. 3278-3334. At that point, Z.W. had “not attended” school in the District “for the past

two years.” R. 3279. To the District’s knowledge, he was still at SpringBrook, but the parents had

not provided “updated data information” despite being requested. Id. The District thus lacked cur-

rent data or information for reading, speech related services, OT, writing, math, behavior, science,

and social studies. See R. 3279, 3282-83, 3285. The District recognized that Z.W. had “turned 14

in December 2019,” and stated that it would complete or add a “transition evaluation and supple-

ment and any appropriate transition-related goals . . . once SCUC staff are able to work with [Z.W.]

and/or parents to get the needed information.” R. 3285. It noted:

       There were more than three attempts made to schedule to [sic] ARD to accommo-
       date parent participation. Parents chose not to attend. Due to the fact that [Z.W.’s]
       annual ARD meeting for this school year is due, the parents were informed that the
       ARD meeting would need to occur and they were encouraged to attend.
R. 3317. It further noted that the “[p]arents declined to participate in ARD meeting” and that they

“continue to request residential placement.” R. 3278.

       To formulate an IEP for the 2020-2021 school year, the District utilized the “school eval-

uation completed in 2019 and information from One for Autism that was provided in 2019.” R.

                                                23
3279. It also considered January 2020 information from SpringBrook. R. 3285. Based on that in-

formation, it noted that SpringBrook “does very minimal academics,” and that Z.W. had “regressed

academically since” going there. Id. An example of regression was that he “can no longer write

his name” despite arriving at the facility with that ability. Id.

        The District considered and recognized a number of matters shared or recommended by

the BCBA who oversaw the SpringBrook program. R. 3285-86. A recommendation that Z.W. have

“1:1 support when transitioning back to district” was reflected in the District’s “schedule of ser-

vices with full-day dedicated behavior support, as well as the BIP transition plan and the [autism]

supplement.” R. 3285. The BCBA shared that SpringBrook’s focus was “on parent training and

working with the family, particularly [the] mother, whom they fe[lt was] a trigger for [Z.W.].” R.

3285-86. “The director of the program shared that education is not the focus” and that the focus

for Z.W. “at SpringBrook [was] leveling and managing medication and working with parents.” R.

3286. The “team lead” from SpringBrook shared that “their primary concern is medication and the

home environment,” and that the District “could definitely” meet Z.W.’s “educational needs.” Id.

        With respect to transitional services, the District recorded that it first discussed such ser-

vices on September 30, 2020. R. 3286. Although the District invited the student to the meeting, he

was not present because the parents “declined to attend annual ARD meeting.” Id. It further noted

that Z.W. had “not been in public school” and to its knowledge he was at SpringBrook. Id. It stated

that it would complete a transition supplement “as soon as” it was “able to work with student

and/or parents to gather needed information.” Id.

        While at SpringBrook the week of September 20 through 25, 2020, Z.W. “made some im-

provements,” by “attend[ing] more class than previous recording periods,” and “working on learn-

ing/writing his numbers” and letters. R. 3882. However, he attended class only one day the next

week. R. 3881. And for the week of October 26 through 30, 2020, Z.W. “refused class every day


                                                  24
except” one and had “multiple meltdowns during” education.” R. 3879.

        Z.W. filed a new request for due process hearing on October 22, 2020, “and eventually, the

parties agreed to a consolidation of the cases, and requested a continuance of the due process hear-

ing.” R. 3. The hearing office issued an order of consolidation on October 26, 2020, and set a

consolidated due process hearing for December 2, 3, 4, 14, and 17, 2020. Id.

        SpringBrook discharged Z.W. the weekend of November 22, 2020, with a recommendation

that he go to a “step down facility around a level three.” R. 4797. It recommended a step-down

facility, because his number of restraints and seclusions had reduced, as well as the duration of

seclusions. R. 4825-27. A step-down facility “would be somewhere that perhaps is not a locked

facility, less restrictive environment, lower staff ratio” that “still provid[ed] intensive services.” R.

4797. Z.W. needed a step-down facility because he remained “a danger to self or others if returned

home.” R. 4798. According to Alissa Wilmerdinger, a mental health therapist from SpringBrook,

Z.W. “would not be successful” at “public school at this point,” i.e., as of her December 4, 2020

testimony. Id. Z.W. had been accepted at Avondale, a step-down residential facility. Id.

        Upon Z.W.’s discharge, his father picked him up from SpringBrook and transported him

to Houston so that he could go to Avondale. R. 5079. And as of the date of the father’s testimony

on December 4, 2020, Z.W. had been quarantined at Avondale since his arrival on November 23,

2020. R. 5080. Although Z.W. could interact with staff and a house mate, he would not start school

until quarantine was to end as scheduled on December 7, 2020. R. 5081.

        SEHO Kimberlee Kovach conducted a due process hearing on December 2, 3, 4, 14, and

17, 2020. R. 4; see also, R. 4070-4384 (Dec. 2); R. 4385-4768 (Dec. 3); R. 4769-5090 (Dec. 4);

R. 5091-5404 (Dec. 14); R. 5405-5546 (Dec. 17). At the time of the hearing, the parents had par-

ticipated in three informal resolution sessions, one mediation, and since the summer of 2019, about

five or six ARDC meetings. R. 4529.


                                                   25
F. Testimony from December 2020 Due Process Hearing

       Over the five-day hearing, the SEHO heard testimony from numerous witnesses. The Court

herein highlights some of the most relevant testimony that has not otherwise been noted in the

above chronology of events.

       1. District Staff

       Ms. Gooch, a Special Education Teacher of the District, testified that, when Z.W. returned

to the District, he had regressed during his time at One for Autism. R. 5267. From her testimony,

it is clear that she was comparing his abilities when he left the District to those set out in the one-

page report from OFA. Compare R. 3518 with R. 5267. She stated that he had regressed “[b]ecause

like with the math, they [(OFA)] said he could only rote count up to 20,” he was only doing “simple

addition,” he “struggled with one-to-one correspondence,” he “only knew simple sight words,”

and “he was not doing his writing either.” Id. He was only doing “hand-over-hand” writing. Id.

       Ms. Gooch also testified that Z.W. had experienced significant regression at SpringBrook

as to when she “had him in December of 2016.” R. 5268. She said he “was back to when [she] got

him in kinder[garten] if not lower than that.” Id. He lacked “the skills that he had when [she] first

started teaching him.” Id. This corresponds positively with the results of the November 5, 2019

reevaluation and resulting FIE which also showed that Z.W. had regressed educationally since

leaving SCUCISD. R. 718, 3335-84.

       Although records from SpringBrook show that Z.W. “was locked in a room over 22 times

and he was also medically sedated by injections,” R. 5268, Ms. Gooch testified that she “never

saw anything that would even warrant that,” R. 5269. In her professional opinion, Z.W. should be

placed in the District with the IEPs developed for him for the 2019-2020 and 2020-2021 school

years. R. 5269-70. She testified that under the District programs, the public school system could

provide all services that he needs, including academics, behaviors, communication, speech, and


                                                  26
sensory. R. 5270.

       Dione McDowell, the District’s Instructional Coach for Autism/Behavior, also testified.

See R. 5095-250. At the time of the December 14, 2020 hearing, she was a fifteen-year employee

of the District who was then employed as “behavior specialist, autism specialist and coordinator.”

R. 5097. Although she was neither a licensed behavior analyst nor a certified registered behavioral

technician, the District employed two BCBAS and at least two RBTs. R. 5097-98. The BCBAs

were hired as classroom teachers rather than providing direct ABA therapy as a related service to

students within the District. R. 5107.

       Ms. McDowell was highly qualified to teach special education classes from kindergarten

through Twelfth Grade. R. 5099. She knew Z.W. and agreed that he was “not a new student to

[the] district.” R. 5100. She testified that the District had observed Z.W. at One for Autism in May-

June 2019, and at SpringBrook in January 2020. Id. The District also met with staff of Spring-

Brook, reviewed minimal records provided by OFA, and reviewed various records of SpringBrook,

including medical notes, records indicating that Z.W. would be placed in isolation or seclusion,

and educational notes, but not a BIP. R. 5101-02, 5209-10.

       Ms. McDowell agreed “that ABA is a research-based practice that has been proven to be

effective with students with autism.” R. 5105. Its “purpose is to change behavior of social signifi-

cance.” Id. There are multiple ABA strategies, but a general focus “is to create replacement be-

haviors for inappropriate behaviors.” Id. She was not aware whether Z.W. received direct ABA

therapy while at OFA or SpringBrook. R. 5106.

       Ms. McDowell reviewed “doctor’s notes about when [Z.W.] was put in seclusion and med-

icated with Haldol.” R. 5209. When asked whether the District would ever put Z.W. in seclusion,

she responded: “Absolutely not.” Id. She stated that it is “illegal and it’s not right for students”

because “there’s no way to keep him safe if he’s in a locked room.” R. 5209-10. She testified that


                                                 27
Z.W. “had significantly regressed” during the eighteen months with OFA after leaving the District.

R. 5212-13. And “he regressed even more” while at SpringBrook. R. 5213.

       Kimberly Ferguson, the Director of Special Education for the District, also testified at the

hearing. R. 4456-4612. She compared the information from when Z.W. was at OFA with the time

he was last with the district and found “very substantial behavioral and academic regression.” R.

4577. While with the District, Z.W. “was working at about a beginning first grade level,” whereas

at OFA “it was more beginning of kinder level.” R. 4578. She testified that the District had never

restrained Z.W., but OFA used restraint “often . . . and for reasons we would not ever restrain a

student.” R. 4578-79. She further testified that Z.W. “[c]ontinued to regress substantially” when

he left OFA for SpringBrook. R. 4580. While at SpringBrook, Z.W. “regress[ed] back to really a

foundational pre-k, like prerequisite pre-k level.” Id.

       2. Retained Expert of the District

       The District retained an expert, Dr. Heather Hughes, to review its IEPs and BIPs and pro-

vide testimony. The SEHO relied upon her testimony on two occasions. See R. 14-15 & nn. 71

(citing T. 1441-1442 (found at R. 5510-11)) and 79 (citing T. 1353-1354 (found at R. 5422-23)).

       Dr. Hughes testified that “[t]here was a regression of skills” while Z.W. was at OFA and

“significant regression” while at SpringBrook. R. 5509. She described the latter regression as “pro-

found” when compared to Z.W.’s performance at the District while stating that he had “notable

regression” even from OFA to SpringBrook. R. 5445. In her professional opinion, the program at

SpringBrook was “ineffective” and “detrimental” and that Z.W. should be “attending his neigh-

borhood school in an environment that can meet all of his . . . educational and behavioral needs

with a multi-disciplinary team.” R. 5445-46. An ALE class is appropriate for him and provides

“the necessary components to implement an IEP effectively for him.” R. 5446. In her professional

opinion, the developed IEPs for the 2019-2020 and 2020-2021 school years are “appropriate based


                                                 28
upon the data that the school personnel had available to them for drafting the IEP.” Id. She viewed

IEPs as “dynamic document[s]” that provide an opportunity for students to transition to a school

setting while recognizing that additional data may “inform any needed revisions.” Id.

        As to the initial testimony relied upon by the SEHO, Dr. Hughes testified that in-home and

parent training is “really essential” to not reinforcing maladaptive or negative behavior if a parent

is “engaging in those behaviors.” R. 5510. She also testified that District staff “are trained and

experienced enough to provide the services that [Z.W.] needs” and that “the classroom is structured

to address [his] needs.” R. 5511.

        Through the later testimony relied upon by the SEHO, Dr. Hughes testified that the Dis-

trict’s IEP and BIP “reflects all the required components of a behavior intervention plan and that

it would be appropriate as an interim plan to help him transition back into the school setting.” R.

5422. She also testified that it was “a great strategy” to increase “staff to three-to-one for the initial

three weeks of [Z.W.’s] transition back to SCUC,” because one “would anticipate that the transi-

tion period from a non-instructional environment to a school setting will require increased sup-

ports.” Id. She further testified that having “a quiet location to perhaps de-escalate or . . . to utilize

self-calming strategies if overstimulated” is “a great component to an instructional program,” such

as the IEP developed by the District. R. 5423.

        3. OFA Staff

        Olga Vasquez-Silva, Executive Director of OFA, also testified. While confused as to

whether she attended the May 2019 or November 2019 ARDC meeting, Ms. Vasquez-Silva clearly

did not agree that transitioning Z.W. back to the District “would be an appropriate step” when he

ultimately left OFA, because, at that point, he “was so aggressive” that “he needed 24-hour care.”

See R. 4686, 4688. She also testified that, if she had to pick a couple of things to help Z.W. better

access his related services and academics, her primary focus would be controlling and decreasing


                                                   29
his intense and dangerous behaviors. R. 4693. That would “definitely help him in the educational

programming part of it.” Id. As to whether the District or any public school would be able to do

that, she opined that, when Z.W. left OFA “his behaviors were really intense,” and “sometimes

when the kids get to that point, [OFA is] not an option.” Id. Another option would be a facility

with “24-hour care for behaviors.” Id. She clarified that she was “not saying the school district is

not capable of it, but in [her] experience when kids get to that point, [OFA] is not an option.” R.

4694. At that point, “[s]omebody else is an option.” Id.

       4. SpringBrook Staff

       Alissa Wilmerdinger, Mental Health Therapist at SpringBrook, testified that Einstein

Academy provides the educational component for SpringBrook with a one teacher per ten student

ratio and an academic setting of about twenty hours per week. R. 4785. She testified that, when a

student comes with an IEP, SpringBrook will incorporate the IEP into the treatment. R. 4789.

According to her, “the ultimate goal for children who are placed at SpringBrook” is “to decrease

the intensity of behaviors that they have come in with [a]nd provide them the skills necessary to

transition to a less restrictive environment.” R. 4790. His goals as to behaviors was to “reduce the

intensity, frequency and duration.” R. 4855-56.

       Ms. Wilmerdinger disagreed that Z.W. had regressed because they had “been able to reduce

the intensity, frequency and duration of [Z.W.’s] aggressive behaviors and reduce his symptoms

of anxiety,” thus allowing “him to function more in a classroom setting.” R. 4796. This explana-

tion, however, ignores educational regression and does not compare Z.W.’s educational abilities

with those he had exhibited while at the District years before. She agreed that behaviors were his

greatest impediment to accessing education. R. 4797. For him, it was “really dependent on the

training and the expertise of the people in the school.” Id.

       When Kevin Loeb, BCBA at SpringBrook, testified on December 4, 2020, he did not think


                                                  30
that Z.W. was “ready at this point to return home” even though that is always the goal of Spring-

Brook. R. 4902-03. At that time, he viewed Z.W. as needing “24 hour supervision.” R. 4903. He

was aware that Z.W. was then currently at Avondale. Id. He testified that, if one “could get better

control of [Z.W.’s] attentional issues” and behaviors, he would absolutely be able to access more

academics. R. 4906. When asked whether he believed “that a public school who has special edu-

cation teachers working with [him] in a . . . special ed setting would . . . be sufficient for [Z.W.] to

access his education given his attentional and behavioral challenge[s] at this point,” he stated that

it would be “very hard to say because schools are different everywhere.” R. 4907.

       Mr. Loeb later testified as to what is appropriate for Z.W. “right now.” R. 4934. He thought

that what was appropriate was what was “going on right now,” being “moved to a lower level care

that was closer to home, but it has a structured residential and a structured educational environ-

ment.” R. 4935. When directly asked whether the mother appearing to be a trigger for Z.W.’s

behavior, he first noted that he “was not able to witness [Z.W.] with his mom on very many occa-

sions” and then stated that from what he had seen he did not “think that his mom is any more of a

trigger than anyone else could potentially be.” R. 4894.

       5. Doctor Harkins

       Dr. Harkins testified that she recommended residential treatment because Z.W. “couldn’t

function at school, and unless the father was there, he couldn’t function at home.” R. 4400. Z.W.

“was getting more and more aggressive.” Id. His biggest problem with accessing education even

in a special education classroom was his aggression. R. 4401. There are problems with transitions

and demanding hygiene. Id. His primary barrier to accessing education in a residential placement

was his behavior, communication, and intelligence. Id. Unless one can get his behaviors under

control, it would be difficult for Z.W. to go anywhere, and even a homebound environment pre-

sents safety issues for the homebound teacher. R. 4401-02. Going forward, his educational


                                                  31
programming should focus on life skills in an environment that is safe for the those working with

him. R. 4402. As of the December 3, 2020 due process hearing, Dr. Harkins did “not know that

[the District has] any program that could really be appropriate for [Z.W.].” Id. She did not know

if “any school district” would. R. 4403. She thought “residential placement is necessary for” Z.W.

Id. But even a residential placement would need to control his behavior. Id.

       Dr. Harkins testified that Z.W. “needs an extremely structured environment” and one “can-

not be that structured in a typical home setting.” R. 4436. She further testified that the District was

not providing such an environment “when the parents had to pull [Z.W.] out.” Id. As of December

3, 2020, she did not “see how anything short of a residential placement . . . would allow him to

benefit from an educational placement.” Id. Even “the transition from wherever he lives to the

school and back again” was “very difficult for him.” Id.

       Notably, when Dr. Harkins recommended residential placement, Z.W. was not at OFA. R.

4439. Her recommendation was based on what was occurring at home. R. 4438-39. Her recom-

mendation was from a “medical perspective.” R. 4439. Her knowledge of the District and Z.W.

were based on events in 2015. R. 4440. Nevertheless, as of that hearing date, she believed that

“residential placement [was] necessary for [Z.W.] to make behavioral and thus academic . . . pro-

gress.” R. 4450 .

G. Due Process Challenge

       As reflected in the above background, Z.W. requested a due process hearing with respect

to his 2019-2020 and 2020-2021 school years. See also R. 4. Primarily, Z.W. sought “reimburse-

ment from the District for the parents’ prior unilateral placement at One for Autism, and then

subsequent unilateral residential placement at Springbrook Autism Behavioral Health.” R. 5. The

Hearing Officer also viewed Z.W. as requesting that his placement “at Avondale House in Hou-

ston, Texas [be] at District or public expense, along with reimbursement of prior and future


                                                  32
expenses, such as travel expenses, associated with such placements.” Id.

       The parties understood that the due process challenge only concerned the two mentioned

school years. Id. Although the parties provided testimony and exhibits related to prior school years,

they agreed that any discussion is for “context of background and basis for understanding the

events preceding this matter.” Id.

H. Decision of Hearing Officer and Appeal

       The Hearing Officer issued her decision on April 12, 2021. See R. 1-25. She noted two

primary issues: (1) whether the District provided Z.W. with a free appropriate public education

“FAPE,” or stated more specifically, whether the proposed program and placement for Z.W. was

reasonably calculated to provide Z.W. with required educational and non-educational benefits, or

whether Z.W. required private placement in order to receive educational benefit; and (2) if private

placement was warranted, then whether the proposed placement was appropriate. Id. at 1.

       After taking testimony and evidence, the Hearing Officer determined that the District was

able to provide a FAPE for Z.W., it was thus unnecessary to address the appropriateness of unilat-

eral placements, and there was no entitlement to reimbursement for private placements. See R. 1-

25. Z.W., through his parents, now appeals the special due process hearing.

                                             II. IDEA

       “The Individuals with Disabilities Education Act (IDEA or Act) offers States federal funds

to assist in educating children with disabilities.” Endrew F. ex rel. Joseph F. v. Douglas Cty. Sch.

Dist. RE-1, 580 U.S. 386, 390 (2017). When a State accepts the offer of funds, it “pledges to

comply with a number of statutory conditions,” including providing “a free appropriate public

education—a FAPE, for short—to all eligible children.” Id. (citing 20 U.S.C. § 1412(a)(1)). The

IDEA defines FAPE as “special education and related services” satisfying four requirements:

       (A) have been provided at public expense, under public supervision and direction,
       and without charge;
                                                 33
       (B) meet the standards of the State educational agency;
       (C) include an appropriate preschool, elementary school, or secondary school edu-
       cation in the State involved; and
       (D) are provided in conformity with the individualized education program required
       under [20 U.S.C. § 1414(d)].
20 U.S.C. § 1401(9). As defined by the IDEA, “‘special education’ means specially designed in-

struction, at no cost to parents, to meet the unique needs of a child with a disability, including (A)

instruction conducted in the classroom, in the home, in hospitals and institutions, and in other

settings; and (B) instruction in physical education.” Id. § 1401(29) (altered paragraph structure).

       States “covered by the IDEA must provide a disabled child with such special education

and related services ‘in conformity with the [child’s] individualized education program,’ or IEP.”

Endrew F., 580 U.S. at 390-91 (citing § 1401(9)(D)). The “centerpiece of the statute’s education

delivery system for disabled children” is the IEP. Id. at 391 (quoting Honig v. Doe, 484 U.S. 305,

311 (1988)). As a “comprehensive plan prepared by a child’s ‘IEP Team’ (which includes teachers,

school officials, and the child’s parents), an IEP must be drafted in compliance with a detailed set

of procedures.” Id. (citing § 1414(d)(1)(B)). Through the IEP, the school district tailors the “special

education and related services . . . ‘to the unique needs’ of a particular child.” Id. (quoting Bd. of

Educ. of Hendrick Hudson Cent. Sch. Dist., Westchester Cty. v. Rowley, 458 U.S. 176, 181 (1982)).

Furthermore, an IEP

       must assure that, to the maximum extent appropriate, States will mainstream disa-
       bled children, i.e., that they will educate them with children who are not disabled,
       and that they will segregate or otherwise remove such children from the regular
       classroom setting only when the nature or severity of the handicap is such that ed-
       ucation in regular classes cannot be achieved satisfactorily.
Honig, 484 U.S. at 311 (citation, internal quotation marks, and ellipses omitted); accord 20 U.S.C.

§ 1412(a)(5); Daniel R.R. v. State Bd. of Educ., 874 F.2d 1036, 1045 (5th Cir. 1989). When the

IDEA speaks in terms of “Educational placement,” it means the “educational program—not the

particular institution where that program is implemented.” White ex rel. White v. Ascension Par.
                                                  34
Sch. Bd., 343 F.3d 373, 379 (5th Cir. 2003).

       Although educators and parents “often agree about what a child’s IEP should contain,”

they also disagree at times. Endrew F., 580 U.S. at 391.

       When disagreement arises, parents may turn to dispute resolution procedures estab-
       lished by the IDEA. The parties may resolve their differences informally, through
       a “[p]reliminary meeting,” or, somewhat more formally, through mediation. If these
       measures fail to produce accord, the parties may proceed to what the Act calls a
       “due process hearing” before a state or local educational agency. And at the con-
       clusion of the administrative process, the losing party may seek redress in state or
       federal court.
Id. at 391-92 (citations omitted).

       In an appeal of a special education due process hearing, the IDEA directs that the Court

“(i) shall receive the records of the administrative proceedings; (ii) shall hear additional evidence

at the request of a party; and (iii) basing its decision on the preponderance of the evidence, shall

grant such relief as the court determines is appropriate.” 20 U.S.C. § 1415(i)(2)(C). As used in this

provision, “appropriate” means “‘appropriate’ in light of the purpose of the Act.” Sch. Comm. of

Town of Burlington, Mass. v. Dep’t of Educ. of Mass., 471 U.S. 359, 369 (1985).

       Under this provision, the Court “is required to accord due weight to the hearing officer’s

findings, but it must ultimately reach an independent decision based on the preponderance of the

evidence.” Seth B. ex rel. Donald B. v. Orleans Par. Sch. Bd., 810 F.3d 961, 966 (5th Cir. 2016)

(omitting internal quotation marks, footnote, and citation). In other words, “a district court reviews

a hearing officer’s decision ‘virtually de novo.’” Jennie W. ex rel. H.W. v. Comal Indep. Sch. Dist.,

32 F.4th 454, 464 (5th Cir. 2022) (quoting Seth B., 810 F.3d at 967). Courts review the adminis-

trative record and any additional evidence requested to determine whether “there has been com-

pliance with IDEA’s processes and that the child’s educational needs have been appropriately ad-

dressed.” Seth B., 810 F.3d at 967 (citations omitted).

       Courts err when they hold that the Act requires the State “to maximize the potential of each


                                                 35
handicapped child commensurate with the opportunity provided nonhandicapped children.” Row-

ley, 458 U.S. at 200. Instead, “Congress sought primarily to identify and evaluate handicapped

children, and to provide them with access to a free public education.” Id. Within “the congressional

purpose of providing access to a ‘free appropriate public education’ is the requirement that the

education to which access is provided be sufficient to confer some educational benefit upon the

handicapped child.” Id. The Act provides a “basic floor of opportunity” that “consists of access to

specialized instruction and related services which are individually designed to provide educational

benefit to the handicapped child.” Id. at 201. Given this basic floor, the IDEA clearly does not

require States to provide a disabled child the best of all possible educational programs or a program

that provides for developing a child’s full potential. See id. at 200-01. Congress intended “that the

services provided handicapped children be educationally beneficial, whatever the nature or sever-

ity of their handicap.” Id. at 201 n.23.

       That a reviewing court bases “its decision on the ‘preponderance of the evidence’ is by no

means an invitation to the courts to substitute their own notions of sound educational policy for

those of the school authorities which they review.” Id. at 206 (addressing predecessor statute to §

1415). Thus, “the statutory authorization to grant ‘such relief as the court determines is appropri-

ate’ cannot be read without reference to the obligations, largely procedural in nature, which are

imposed upon recipient States by Congress.” Id. Accordingly, the Court’s inquiry is whether (1)

the State has complied with the procedural requirements of the IDEA and (2) “the individualized

educational program developed through the Act’s procedures [is] reasonably calculated to enable

the child to receive educational benefit.” Id. at 206-07. Courts cannot require more than compli-

ance with these two requirements. See id. at 207.

       But Rowley “expressly declined ‘to establish any one test for determining the adequacy of

educational benefits’ under the Act.” Endrew F., 580 U.S. at 399 (quoting Rowley, 458 U.S. at


                                                 36
202).

        While Rowley declined to articulate an overarching standard to evaluate the ade-
        quacy of the education provided under the Act, the decision and the statutory lan-
        guage point to a general approach: To meet its substantive obligation under the
        IDEA, a school must offer an IEP reasonably calculated to enable a child to make
        progress appropriate in light of the child’s circumstances.
        The “reasonably calculated” qualification reflects a recognition that crafting an ap-
        propriate program of education requires a prospective judgment by school officials.
        The Act contemplates that this fact-intensive exercise will be informed not only by
        the expertise of school officials, but also by the input of the child’s parents or guard-
        ians. Any review of an IEP must appreciate that the question is whether the IEP is
        reasonable, not whether the court regards it as ideal.
Id. (citations omitted).

        Even though “Endrew F. provides more clarity for what constitutes an appropriate IEP,”

its standard does not render inapplicable Fifth Circuit precedent that predated it. E.R. ex rel. E.R.

v. Spring Branch Indep. Sch. Dist., 909 F.3d 754, 765 (5th Cir. 2018) (per curiam) (relying on

Cypress-Fairbanks Indep. Sch. Dist. v. Michael F. by Barry F., 118 F.3d 245 (5th Cir. 1997)). To

determine “whether an IEP is reasonably calculated to provide a meaningful educational benefit

under the IDEA,” and thus appropriate, Michael F. sets out the following four factors or indicators:

        (1) the program is individualized on the basis of the student’s assessment and per-
        formance; (2) the program is administered in the least restrictive environment; (3)
        the services are provided in a coordinated and collaborative manner by the key
        “stakeholders”; and (4) positive academic and non-academic benefits are demon-
        strated.
118 F.3d at 253. These factors were derived from the implementing regulations of the IDEA. See

id. at 253 n.29. Endrew F. did not “render the Michael F. factors inapplicable,” rather the two

cases “fit together.” E.R., 909 F.3d at 765; accord H.W., 32 F.4th at 465. Indeed, “Endrew F. did

not eliminate, nullify, nor modify this circuit’s practice of applying the Michael F. factors when

evaluating the sufficiency of a child’s IEP.” A.A. v. Northside Indep. Sch. Dist., 951 F.3d 678, 690

(5th Cir. 2020).

        Some courts refer to the factors as “the Michael F. test,” see, e.g., Richardson Indep. Sch.

                                                   37
Dist. v. Michael Z, 580 F.3d 286, 294 (5th Cir. 2009), but courts are not required to consider or

weigh these factors in any particular way, Klein Indep. Sch. Dist. v. Hovem, 690 F.3d 390, 396

(5th Cir. 2012). Even though the Fifth Circuit has “‘never specified precisely how these factors

must be weighed,’ . . . it has long held that the fourth factor is critical.” Renee J. ex rel. C.J. v.

Hous. Indep. Sch. Dist., 913 F.3d 523, 529 (5th Cir. 2019) (quoting Michael Z, 580 F.3d at 293);

accord H.W., 32 F.4th at 465.

       Because the factors are “intended to guide a district court in the fact-intensive inquiry of

evaluating whether an IEP provided an educational benefit,” the courts do “not legally err by af-

fording more or less weight to particular Michael F. factors.” Michael Z, 580 F.3d at 294. Never-

theless, because “the whole educational experience, and its adaptation to confer ‘benefits’ on the

child, is the ultimate statutory goal,” courts should consider the factors “[f]rom this holistic per-

spective.” Hovem, 690 F.3d at 397. Indeed, the Fifth Circuit has reiterated that courts must “review

each student’s case in a fact-intensive, individualized, holistic manner.” H.W., 32 F.4th at 468.

       To determine whether an IEP provides a meaningful “educational benefit,” courts must

look beyond mere “weaknesses caused by [the student’s] learning disability,” they must instead

focus on the student’s “overall academic record” at the school. See Hovem, 690 F.3d at 397. Stated

differently, “overall educational benefit, not solely disability remediation, is IDEA’s statutory

goal.” Id. at 398. To assess an individual student’s progress, courts “must look to [the student’s]

overall academic success, not whether [his or her] disability has been remedied.” H.W., 32 F.4th

at 469. Progress on “IEP goals and objectives, as well as [recorded] test scores and percentile

rankings, can aid this process, but no one factor can overwhelm it.” Id.

       Furthermore, “the Rowley test does not advance [a court’s] inquiry when the question pre-

sented is whether the Act’s mainstreaming requirement has been met.” Daniel R.R., 874 F.2d at

1045. Satisfaction of this requirement is not evaluated “in the abstract”; instead “that laudable


                                                 38
policy must be weighed in tandem with the Act’s principal goal of ensuring that the public schools

provide handicapped children with a free appropriate public education.” Id. at 1044-45. For such

circumstances, which is also referred to as the least-restrictive-environment or LRE, the Fifth Cir-

cuit has “stated a flexible, two-part test.” R.H. v. Plano Indep. Sch. Dist., 607 F.3d 1003, 1013 (5th

Cir. 2010) (relying on Daniel R.R., 874 F.2d at 1048).

       First, [courts] ask whether education in the regular classroom, with the use of sup-
       plemental aids and services, can be achieved satisfactorily for a given child. If it
       cannot and the school intends to provide special education or to remove the child
       from regular education, [courts] ask, second, whether the school has mainstreamed
       the child to the maximum extent appropriate.
Daniel R.R., 874 F.2d at 1048; accord R.H., 607 F.3d at 1013. Various factors may impact both

inquiries and “no single factor is dispositive in all cases.” Daniel R.R., 874 F.2d at 1048. Courts

instead conduct “an individualized, fact-specific inquiry that requires” careful examination of “the

nature and severity of the child’s handicapping condition, his [or her] needs and abilities, and the

schools’ response to the child’s needs.” Id. Furthermore, LRE “denotes ‘not only freedom from

restraint, but the freedom of the child to associate with his or her family and able-bodied peers’ to

the maximum extent possible.” Teague Indep. Sch. Dist. v. Todd L., 999 F.2d 127, 128 n.2 (5th

Cir. 1993) (quoting Sherri A.D. v. Kirby, 975 F.2d 193, 207 n.23 (5th Cir. 1992)). Importantly,

“Michael F. and Daniel R.R. are not in conflict”; instead, the “analysis of the second Michael F.

factor . . . is guided by Daniel R.R.” R.H., 607 F.3d at 1013. In fact, when the issue is “whether the

Act’s mainstreaming requirement has been met, the second Michael F. factor is guided by the two-

part test set out in [Daniel R.R.].” H.W., 32 F.4th at 465.

       Additionally, when “assuring that the requirements of the Act have been met, courts must

be careful to avoid imposing their view of preferable educational methods upon the States.” Row-

ley, 458 U.S. at 207. The IDEA left “primary responsibility” for formulating the educational pro-

gram “and for choosing the educational method most suitable to the child’s needs . . . to state and


                                                 39
local educational agencies in cooperation with the parents or guardian of the child.” Id. “Congress

left the choice of educational policies and methods where it properly belongs—in the hands of

state and local school officials.” Daniel R.R., 874 F.2d at 1048. It is not the role of the courts “to

second guess state and local policy decisions; rather it is the narrow one of determining whether

state and local school officials have complied with the Act.” H.W., 32 F.4th at 464 (quoting White,

343 F.3d at 377).

       “Because the IDEA ‘creates a presumption in favor of a school system’s education plan,’

the burden of proof rests on the party challenging the plan.” Id. (quoting White, 343 F.3d at 377).

In the Fifth Circuit, the “party attacking the appropriateness of an IEP established by a local edu-

cational agency bears the burden of showing why the IEP and the resulting placement were inap-

propriate under the IDEA.” Michael F., 118 F.3d at 252. The challenging party bears that burden

at both the administrative and district court levels. Richardson Indep. Sch. Dist. v. Michael Z, 580

F.3d 286, 292 n.4 (5th Cir. 2009).

       “Although school districts are required to provide a free appropriate public education—a

FAPE—to all eligible students, a district’s obligations vary depending on the circumstances of the

student and her placement.” Dallas Indep. Sch. Dist. v. Woody, 865 F.3d 303, 309 (5th Cir. 2017).

Some appeals, like the one now before the Court, require consideration of the IDEA and its regu-

lations that “impose obligations on the public-school district even for students who are being edu-

cated in private schools.” See id. (citing 20 U.S.C. § 1412(a)(10); 34 C.F.R. §§ 300.130–300.148).

       The statutory framework permits placement of a child “in a private school without consent

of the public school.” Id. (citing 20 U.S.C. § 1412(a)(10)(C)). In general, Subchapter II (Assistance

for Education of all Children with Disabilities) of Chapter 33 (Education of Individuals with Dis-

abilities) of Title 20 of the United States Code

       does not require a local educational agency to pay for the cost of education, includ-
       ing special education and related services, of a child with a disability at a private
                                                   40
       school or facility if that agency made a free appropriate public education available
       to the child and the parents elected to place the child in such private school or fa-
       cility.
20 U.S.C. § 1412(a)(10)(C)(i). That general rule is subject to § 1412(a)(10)(A) and various “pro-

visions address when the costs of the special education must be reimbursed, which largely turn on

whether the public school offered FAPE.” Woody, 865 F.3d at 309. Therefore, “if the District

offered a proper and timely FAPE, there is not an obligation to reimburse for private-school ex-

penses.” Id. at 314.

       Further, as recognized in Woody, the Supreme Court has held that § 1412(a)(10)(C) is not

“the exclusive source of authority for courts to order reimbursement when parents unilaterally

enroll a child in private school.” Id. (quoting Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 241

(2009)). Looking to its prior precedents that dealt with reimbursement under § 1415, which pro-

vides “the general requirements for reimbursement under IDEA,” the Supreme Court stated:

“IDEA authorizes reimbursement for the cost of private special-education services when a school

district fails to provide a FAPE and the private-school placement is appropriate, regardless of

whether the child previously received special education or related services through the public

school.” Id. at 314-15 (quoting Forest Grove, 557 U.S. at 247).

       “Parents ‘are entitled to reimbursement only if a federal court concludes both that the public

placement violated IDEA and the private school placement was proper under the Act.” Forest

Grove, 557 U.S. at 246 (quoting Florence Cty. Sch. Dist. Four v. Carter, 510 U.S. 7, 15 (1993)).

But “even then courts retain discretion to reduce the amount of a reimbursement award if the eq-

uities so warrant.” Id. at 246-47. And when “considering the equities, courts should generally pre-

sume that public-school officials are properly performing their obligations under IDEA.” Id. at

247. These three factors—whether the school district provided a FAPE, whether the parents chose

an appropriate private placement, and the equities—were first set out by the Supreme Court in


                                                41
1985. See Sch. Comm. of Town of Burlington, Mass. v. Dep’t of Educ. of Mass., 471 U.S. 359, 369-

74 (1985).

                                     III. APPELLATE CHALLENGE

        Appellant argues that the SEHO erred in finding that SCUCISD procedurally and substan-

tively complied with the requirements of the IDEA. ECF No. 16 at 5. He also argues that the

hearing officer’s decision is not entitled to deference for a variety of reasons. Id. at 16-17. He

submits that if the Court determines that the SEHO erred and finds that the District has violated

the procedural or substantive rights of the parents or student under the IDEA, then the Court may

grant such relief as is appropriate. Id. at 2-3.

        As set out previously, as the party challenging the District’s eligibility determination or

offer of services under the IDEA, Plaintiff bears the burden to prove that the District has denied

Z.W. a FAPE. Plaintiff may carry that burden by showing that (1) the District failed to comply

with the procedures of the IDEA or (2) the developed IEP was not reasonably calculated to enable

Z.W. to receive an educational benefit. See Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist.,

Westchester Cty. v. Rowley, 458 U.S. 176, 206-07 (1982). The procedural inquiry of prong one

requires a reviewing “court not only to satisfy itself that the State has adopted the state plan, poli-

cies, and assurances required by the [IDEA], but also to determine that the State has created an

IEP for the child in question which conforms to the requirements of [the transitional services pro-

vision of the IDEA].” Id. at 206 n.27 (citing 20 U.S.C. § 1401(19), now found at § 1401(34) and

34 C.F.R. § 300.43).

        Although a court’s “review of an IEP must be limited to whether the IEP is reasonable, not

ideal,” Jennie W. ex rel. H.W. v. Comal Indep. Sch. Dist., 32 F.4th 454, 464 (5th Cir. 2022) (citing

Endrew F. ex rel. Joseph F. v. Douglas Cty. Sch. Dist. RE-1, 580 U.S. 386, 399 (2017)), the rea-

sonableness analysis is guided by the statutory definition of FAPE” and its “procedural


                                                   42
requirements,” Endrew F., 580 U.S. at 401 (citing §§ 1401(9), (29)). As noted by the Supreme

Court, “the procedures are there for a reason, and their focus provides insight into what it means,

for purposes of the FAPE definition to ‘meet the unique needs’ of a child with a disability.” Id.

(quoting §§ 1401(9), (29)).

       The SEHO addressed three issues: (1) whether the District was able to provide a FAPE to

Z.W.; (2) whether the District denied a FAPE to Z.W. due to procedural violations of the IDEA;

and (3) whether private and residential placements were appropriate. R. 19-24. Several factors

contribute to the complexity of this appeal. First, the appeal spans two full school years—Eighth

(2019-2020) and Ninth Grades (2020-2021) with extended school years preceding and following

the Eighth Grade. Thus, the District developed multiple IEPs. Further, at no point during this time

frame did Z.W. attend school in the District. In addition, Z.W. received his education at multiple

locations due to varying levels of behavioral issues. The one constant apparent in this case is the

ever-changing context surrounding Z.W. Although the Court may be tasked with considering a

moving target comprised of changing behavioral issues, school years, and proposed educational

plans, the substantive challenge is one of reasonableness, not perfection. And the District’s pro-

posed educational program and placement need only be reasonably calculated to provide Z.W.

with required educational and non-educational benefits.

       Appellant does not challenge whether the State has adopted a state plan, policies, or assur-

ances required by the IDEA. Nor does Appellant directly question whether any IEP prepared by

the District conforms to the requirements of § 1401(34), which like 34 C.F.R. § 300.43, defines

transition services. Appellant, furthermore, makes no challenge to any specific finding of fact set

forth by the SEHO, although he does contend that that the SEHO omits or otherwise does not

consider certain facts leading to erroneous conclusions. The Court has generously included many

of these factual findings in the background set forth earlier. It will supplement those facts to the


                                                43
extent that additional detail is needed in resolving this appeal. It now addresses the challenges

raised by Z.W. while recognizing that it may properly decline to consider any matter not raised

administratively. Leigh Ann H. v. Riesel Indep. Sch. Dist., 18 F.4th 788, 801 n.15 (5th Cir. 2021).

A. Deference

       Z.W. contends that the hearing officer’s decision is not entitled to deference because (1)

the decision only makes “bald conclusions as to the procedural requirements of the IDEA,” (2)

one cannot determine which facts the SEHO relied upon in reaching her legal conclusions, and (3)

       the SEHO failed to provide any analysis or conclusions of law as to the substantive
       requirements of the IDEA – namely whether each of the proposed IEPs (which
       were disputed by Plaintiffs and at issue in this matter) offered Z.W. an educational
       program reasonably calculated to enable him to make progress appropriate in light
       of his unique circumstances.
ECF No. 16 at 16-17.
       The Court need not address each of these contentions. It has already set out the applicable

standard of review, including the requirement that it accord due weight to findings of the hearing

officer while ultimately making an independent decision based on a preponderance of the evi-

dence. See Seth B. ex rel. Donald B. v. Orleans Par. Sch. Bd., 810 F.3d 961, 966 (5th Cir. 2016).

This is virtually a de novo review. Jennie W. ex rel. H.W. v. Comal Indep. Sch. Dist., 32 F.4th 454,

464 (5th Cir. 2022). But such review does not permit “courts to substitute their own notions of

sound educational policy for those of the school authorities which they review.” Bd. of Educ. of

Hendrick Hudson Cent. Sch. Dist., Westchester Cty. v. Rowley, 458 U.S. 176, 206 (1982). The

Court will conduct its review of the administrative record in accordance with these well-estab-

lished standards. Doing so eliminates the concern about deferring to the SEHO’s decision.

       The Court, however, will note that, while the SEHO at times spoke in terms of a singular

IEP, the SEHO clearly delineated that at issue was whether “the IEPs and BIPs developed by the

District for the school years 2019-2020 and 2020-2021 along with any amendments, were reason-

ably calculated to provide [Z.W.] a meaningful educational benefit under the IDEA.” See R. 19.
                                              44
The SEHO, furthermore, specifically identified the relevant IEPS as being “developed in May-

June of 2019, November 2019, and March and September 2020.” R. 20. The Court finds no legit-

imate question as to whether the SEHO considered each of the relevant IEPs.

B. Substantive Violations

          Z.W. asserts four substantive violations: (1) SEHO committed legal error by giving greater

deference to the testimony of the District’s expert witness’s conclusory testimony over Z.W.’s

witnesses, ECF No. 16 at 7-11; (2) SEHO applied the wrong legal standard, id. at 11-12; (3) SEHO

erred by omitting critical facts leading to improper conclusions, id. at 12-15; and (4) SEHO erred

in finding the failure to include transition plan did not rise to the level of diminishing the suffi-

ciency of the IEP, id. at 15-16. Z.W. contends that because “the SEHO failed to discuss or make

conclusions of law relating to identified issues, applied incorrect legal standards, and omitted crit-

ical facts resulting in erroneous conclusions, the Court should examine the record to reach its own

conclusions and give the SEHO decision no deference.” Id. at 16.

          The Court’s task is to conduct a de novo review of the evidence while giving due weight

to the findings of the SEHO. As noted above, applying the well-established standards for reviewing

the administrative record eliminates any concern about deferring to the SEHO’s decision. The

Court will address the stated substantive violations as needed as it conducts its virtually de novo

review.

          Under such review, the Court considers whether the developed IEPs are reasonably calcu-

lated to enable Z.W. “to receive educational benefit.” Bd. of Educ. of Hendrick Hudson Cent. Sch.

Dist., Westchester Cty. v. Rowley, 458 U.S. 176, 181, 207 (1982). This is the core requirement of

any substantive challenge. Of course, the IEP Team must draft the IEP in compliance with the

detailed procedures of § 1414, which “emphasize collaboration among parents and educators and

require careful consideration of the child’s individual circumstances.” Endrew F. ex rel. Joseph F.


                                                  45
v. Douglas Cty. Sch. Dist. RE-1, 580 U.S. 386, 391 (2017).

       The SEHO appropriately recognized this core requirement when she first considered

whether the District was able to provide a FAPE to Z.W. See R. 19. The District likewise recog-

nizes this core requirement as shown by its focus on whether it provided a FAPE under the IDEA.

See ECF No. 18 at 19-23. This case requires the Court to apply the law to the unique facts and

circumstances relevant to Z.W. As recognized by the Supreme Court, educational instruction must

be designed to meet the “unique needs” of the student. See Endrew F., 580 U.S. at 399-401; Row-

ley, 458 U.S. at 188. And notably, because crafting an appropriate IEP requires “prospective judg-

ment” by school districts, Endrew F. held that schools only need to offer IEPs that are “reasonably

calculated to enable” the student to make progress in light of his or her unique circumstances. 580

U.S. at 399.

       While the reasonably calculated qualification always has importance when reviewing an

IEP, it takes on particular importance in circumstances such as this when the school district has

not been educating the student. In these circumstances, there is typically no ability to directly gauge

the success or failure of a developed IEP. Instead, those reviewing IEPs in such circumstances

must remain even more vested to the reasonably calculated standard. The Supreme Court recog-

nizes the importance of considering the unique needs and specific circumstances of the student

eligible for special education and related services. The needs and circumstances necessarily in-

clude recognizing that an IEP developed for use for a student being educated outside the school

district is not as easily reviewed for positive benefits as an IEP developed for use for a student

educated within the school district.

       The intense and changing behavioral issues of Z.W. provide additional uniqueness to his

circumstances. His entire academic record exhibits ongoing behavioral issues that impact his abil-

ity to receive academic benefit regardless of educational location. These issues undoubtedly


                                                  46
worsened in 2019 causing some to recommend residential placement. But the preponderance of

the evidence shows that such recommendations were medically driven, and not made primarily for

educational purposes. Further, the statutory goal of the IDEA is “not solely disability remediation,”

there must be some educational benefit. Klein Indep. Sch. Dist. v. Hovem, 690 F.3d 390, 398 (5th

Cir. 2012). And determining whether the developed IEPs provide meaningful educational benefit

requires looking beyond the behavioral issues caused by Z.W.’s learning disability. See id. at 397.

       When parents examine “the educational opportunities available” for their disabled child,

they “may be expected to focus primarily on [their] own child’s best interest.” Daniel R.R. v. State

Bd. of Educ., 874 F.2d 1036, 1052 (5th Cir. 1989). Similarly, “when state and local school officials

are examining the alternatives for educating a handicapped child, the child’s needs are a principal

concern.” Id. But, of course,

       other concerns must enter into the school official’s calculus. Public education of
       handicapped children occurs in the public school system, a public institution en-
       trusted with the enormous task of serving a variety of often competing needs. In the
       eyes of the school official, each need is equally important and each child is equally
       deserving of his share of the school’s limited resources.
Id. While the parties strive to provide for Z.W.’s best interests, they disagree as to whether place-

ment in a public versus private educational setting complies with the dictates of the IDEA.

       As recognized by the SEHO, see R. 19, the guiding legal principles for determining

whether the District has provided a FAPE are found in Cypress-Fairbanks Independent School

District v. Michael F. by Barry F., 118 F.3d 245 (5th Cir. 1997). Michael F. sets out four factors

or indicators as to whether a school district has developed an appropriate IEP – meaning that the

“IEP is reasonably calculated to provide a meaningful educational benefit under the IDEA.” 118

F.3d at 253. The Court thus examines the administrative record to determine whether the proposed

IEPs were reasonably calculated to provide a meaningful educational benefit, and thus appropriate

under the four Michael F. factors.


                                                 47
       1. Individualized IEP

       For the first factor – individualized IEP based on student’s assessment and performance –

the Court has no difficulty in finding that the preponderance of the evidence shows that the District

developed the IEPs for the individualized needs of Z.W. The District and a team of professionals

evaluated, observed, and assessed his individual abilities and needs multiple times throughout the

process. His parents, as well as District staff and teachers, provided input. A representative of OFA

attended one ARDC meetings. The record is replete with evidence of meetings between interested

parties regarding the various IEPs, and the challenged IEPs are no exception.

       As recognized by the SEHO, the District developed three relevant IEPs: “May-June of

2019, November 2019, and March and September 2020.” R. 20. Although Z.W. has not attended

school in the District since October 2017, thus depriving the District of an opportunity to observe

and assess his performance in the specific educational settings recommended, it still conducted

ARDC meetings about his educational placements and developed various independent educational

programs for him. When the parents contacted the District to fund their unilateral placement of

Z.W. at OFA following the negotiated placement there ending in June 2019, the District began the

process of developing an ESY program for Z.W. for the summer of 2019. In an effort to develop

such program the District obtained a one-page listing of Z.W.’s then present levels of academic

and functional performance from OFA. It also sought to observe Z.W. at the private school that he

had been attending for eighteen months.

       Based upon the received information and a brief observation allowed, the District devel-

oped an IEP and created both an ESY program as well as an educational program for the 2019-

2020 school year pending an evaluation by the District. See R. 640-87. While noting a new FIE

was not due until October 10, 2020, the District reviewed the FIE of October 11, 2017. R. 640. It

reviewed information from school personnel, information or records from other agencies or


                                                 48
professionals, student communication needs, and, as shown in the deliberation section, concerns

of the parents. Id. Still, because it recognized that an additional evaluation was needed, it intended

to reevaluate Z.W. during the Fall semester. Id.

        Once the District completed its reevaluation on November 5, 2019, it had a new FIE for

Z.W. See R. 3335. Although Z.W.’s behavioral issues had worsened since the District began the

IEP process in May and June 2019, the District still developed an IEP based on assessments and

performance of Z.W. Because IEPs are educational in nature, they remain appropriately individu-

alized even if they may not satisfy every medical need of the student or every desire of the parents.

They are not required to provide perfect educational opportunities.

        With the new FIE that would remain effective through November 4, 2022, see R. 690, the

District held an ARDC meeting on November 19, 2019, where it recommended adding another

eligibility category for intellectual disability, see R. 717-18. At that meeting, the father shared that

SpringBrook was “using the district’s IEP” but he was uncertain as to whether it was using the

District’s BIP. R. 3255. The fact that SpringBrook was using the District’s IEP provides some

support for its appropriateness even with Z.W.’s significant behavioral issues. Although the father

initially opposed the ID recommendation, he later sought and obtained ID eligibility from

AACOG. See R. 2629-33. This essentially confirmed the appropriateness of the District’s addi-

tional eligibility category. Based upon the reevaluation, the District revised its IEP for Z.W. See

R. 691-708.

        After District staff visited SpringBrook in January 2020, the District convened another

ARDC meeting on March 4, 2020, where the staff shared information that SpringBrook was not

educationally focused but rather was a hospital setting that focused on the home. R. 3253. Based

upon that visit, the ARDC increased support to three to one upon Z.W.’s return to school. See R.

3233, 3266. The committee recognized that Z.W. had turned fourteen in December 2019, noted


                                                   49
that the March 4, 2020 meeting was a reconvened ARD from November 2019, and stated that the

committee would address a transition plan at the next ARD. R. 3233.

       At the next ARDC meeting (September 30, 2020), the District discussed a transitional plan,

but was unable to formulate one because Z.W. was at SpringBrook, his parents declined to attend

the meeting, and they had not provided requested information. See R. 3279, 3282-83, 3285-86.

Committee notes showed that the District sought parent participation, but they did not attend. R.

3317. Given a lack of more recent information, the District relied on prior information to make an

IEP for the 2020-2021 school year. R. 3279, 3285. Most notably, it recognized that SpringBrook’s

focus was on parent and family training rather than academics; that Z.W. had regressed academi-

cally since going there; and that, according to a “team lead” from SpringBrook, the District “could

definitely” meet Z.W.’s “educational needs.” R. 3285-86.

       From the foregoing recitation of evidence and a review of the totality of the record, the

Court finds from a preponderance of the evidence that the District developed multiple IEPs for

Z.W. Each of these programs were individualized on the basis of Z.W.’s assessment and perfor-

mance. That the last IEP required the District to rely on earlier information does not detract from

the individualized nature of the developed educational program. Further, as found by the SEHO,

see R. 21, the absence of a transitional plan in the last IEP does not diminish its sufficiency. The

District explained that the parents had declined to attend the ARDC meeting in which transition

services were first discussed and that it would complete a transition supplement “as soon as” it “is

able to work with student and/or parents to gather needed information.” R. 3286. Delaying a tran-

sition plan under these circumstances appears warranted without diminishing the sufficiency of

the IEP.

       Based on its diligent efforts, the District prepared each IEP with the information it had.

Furthermore, that the IEPs shared common characteristics despite changing circumstances reflects


                                                50
their prospective nature coupled with a lack of actual placement due to Z.W. attending school at

OFA, SpringBrook through Einstein Academy, and ultimately Avondale. The common character-

istics do not reflect a failure of the District to individualize the educational programs based on

assessment and performance of Z.W. The preponderance of the evidence shows that, with each

IEP, the District strived to develop an individualized educational program so as to enable Z.W. to

receive educational benefit in light of his circumstances.

       Wherever Z.W. has been for education his ongoing behavioral issues impact his ability to

receive academic benefit, and those issues undoubtedly worsened in 2019. Even if such worsening

had occurred at the District under a developed IEP, such escalation of behavior would not alone be

“conclusive evidence that [the] IEP was not sufficiently individualized.” See B.S. b/n/f Justin S. v.

Waxahachie Indep. Sch. Dist., No. 22-10443, 2023 WL 2609320, at *7 (5th Cir. Mar. 23, 2023)

(per curiam). While medical and perhaps personal reasons may make residential placement a better

alternative, Z.W. has not shown by a preponderance of the evidence that the District’s developed

IEPs were not properly individualized. He has not carried his burden to show that the District failed

to create individualized IEPs for him.

       To comply with the IDEA, “an IEP sufficient under the IDEA” need not be “perfect” nor

must it “insulate a child from experiencing hardships while being subject to the IEP. A.A. v.

Northside Indep. Sch. Dist., 951 F.3d 678, 691 (5th Cir. 2020). “Instead, the IDEA only guarantees

a child a ‘basic floor’ of opportunity that meets a child’s ‘unique needs’ with ‘services that will

permit him to benefit from the instruction.’” B.S., 2023 WL 2609320, at *7 (quoting R.H. v. Plano

Indep. Sch. Dist., 607 F.3d 1003, 1008 (5th Cir. 2010)). The IDEA does not require more than that.

While parents and private facilities may expect more, such expectations do not change the require-

ments of the Act.

       The first Michael F. factor or indicator supports the Court finding that the developed IEPs


                                                 51
were reasonably calculated to provide a FAPE to Z.W. That the parents refused all offered services

does not dictate a contrary finding. Such refusal merely hinders the ability to directly assess the

success or failure of such IEPs.

       2. Key Stakeholders or Collaboration

       Similarly, the record shows that the key stakeholders were major participants in a coordi-

nated and collaborative development of the various IEPs and the services to be provided. There is

no doubt that the services to be provided under the developed IEPs were to be provided in a coor-

dinated and collaborative manner by various District personnel, outside personnel, and the parents.

       Although the parents did not attend the ARDC meeting of September 30, 2020, the record

reflects that at least one parent participated in all other meetings and the District made a concerted

effort to have them attend all meetings. The District gave the parents the opportunity to participate

at every meeting. The parents provided no reason why one of them could not attend the missed

meeting. They simply wanted to postpone the meeting until after the show cause hearing that was

scheduled for October 2020. The District provided notice of the meeting and an opportunity for

the parents to attend. It sought information from other placements and sought their input. It sought

to ease Z.W.’s transition back to the District through a coordinated effort with the staff of OFA.

After visiting SpringBrook, it increased staff support for Z.W.’s return to the District. As previ-

ously stated, the District relied on numerous professionals and teachers, in addition to obtaining

input from the parents at other meetings. It made efforts to obtain information from Dr. Harkins,

but the parents refused. It made efforts to provide parental training that were also refused.

       The record reflects that everyone had Z.W.’s well-being as a primary objective, even when

there was disagreement between the District and the parents. And the Fifth Circuit has specifically

rejected “the assertion that parents are denied input into a decision if their position is not adopted.”

White ex rel. White v. Ascension Par. Sch. Bd., 343 F.3d 373, 377 (5th Cir. 2003). This factor


                                                  52
supports a finding that the developed IEPs were reasonably calculated to provide a FAPE to Z.W.

       3. Positive Academic and Non-academic Benefits

       With respect to demonstration of positive academic and non-academic benefits, the SEHO

recognized that this factor was rendered more difficult because the District had yet to implement

any developed IEP due to Z.W.’s unilateral placement at private facilities. R. 23.

       For the 2019-2020 school year, the District developed IEPs that would place Z.W. in an

adaptive learning environment for core subjects with other students with disabilities. R. 662, 714,

3250. The developed IEP for the 2020-2021 school year placed Z.W. in a special education setting

for core subjects. R. 3312. For two electives both years, he would be placed in a general education

classroom with non-disabled peers. R. 662, 714, 3250, 3312. Under the District’s IEPs for both

school years, it expected Z.W. “to receive both academic and non-academic benefit from partici-

pation in both the general education and special education settings.” R. 659, 711, 3247, 3309.

Further, Z.W. would “have the opportunity to participate with students without disabilities in all

nonacademic, extracurricular and other activities.” R. 661, 713, 3249, 3311.

       Given the circumstances of this case, the Court cannot say with certainty that the IEPs

developed by the District would provide academic and non-academic benefits. But, from the pre-

ponderance of the evidence, it does find that the District developed such programs with a reason-

able expectation that Z.W. would receive such benefits. Further, although Z.W. had regressed ac-

ademically since his last full semester with the District, the District had previously provided both

academic and non-academic benefits to Z.W. With the prospective nature of the developed IEPs,

the preponderance of the evidence supports the Court finding that the IEPs are reasonably calcu-

lated to provide Z.W. with the benefits under this factor. Most importantly, moreover, Z.W. has

not carried his burden to show that a preponderance of the evidence supports a finding that the

IEPs are not so reasonably calculated. For these reasons, the Court finds this factor supports the


                                                53
Court finding that the developed IEPs were reasonably calculated to provide a FAPE to Z.W.

       4. Least Restrictive Environment

       Analyzing this issue requires the Court to consider whether the pertinent IEPs place Z.W.

in the least restrictive environment to achieve an appropriate education. No one contends that Z.W.

can be satisfactorily educated in the regular classroom. Further, no one disputes that the programs

formulated by the District were the least restrictive environment when compared to the private

school settings sought by the family. From the District’s perspective, the developed IEPs main-

stream Z.W. to the maximum extent appropriate as the IDEA requires . It proposed to have Z.W.

transition into general education for two electives but this would necessarily be subject to his be-

havioral issues. The family, however, disagrees with that appropriateness of the less restrictive

settings given Z.W.’s behavioral issues. In other words, the family views the developed IEPs as

mainstreaming Z.W. beyond the maximum appropriate extent.

       Because the District’s IEPs provide greater mainstreaming than the alternative private

placements sought by the family, this factor appears to favor the District. Substantial evidence,

furthermore, supports the District’s decision to place Z.W. in the less restrictive environment of-

fered by the District. This is not to say that the record lacks evidence supporting a more restrictive

residential placement.

       The evidence shows that Z.W. has significant behavioral issues that affect his educational

placements in both private and public schools. But Z.W. made progress with his behaviors the last

time he was educated in the public-school setting for an entire semester. Despite that progress, he

withdrew from school to temporarily move to England. He had behavioral issues when he returned

to the District in the fall of 2017 at a different district location. He spent Sixth and Seventh Grades

at OFA and his parents sought to continue that unilateral placement for ESY services at the Dis-

trict’s expense in 2019. The District developed an IEP for ESY services at the District, and Z.W.


                                                  54
has not carried his burden to show that the developed IEP to be inappropriate based on needing a

more restrictive educational environment.

         As the school year turned to Fall services, the District’s developed IEP for the 2019-2020

school year became the operative IEP. During that Fall semester, Z.W.’s behavioral issues wors-

ened. He was hospitalized and his parents ultimately placed him in a residential facility (Spring-

Brook). A preponderance of the evidence shows that medical, rather than educational, purposes

drove that placement decision. The facility’s focus, moreover, was not on educating Z.W. Spring-

Brook provides a highly restrictive environment that often utilizes seclusion and other forms of

restraint. Of course, “freedom from restraint” is a benchmark of LRE along with the freedom to

associate with “abled-bodied peers to the maximum extent possible.” Teague Indep. Sch. Dist. v.

Todd L., 999 F.2d 127, 128 n.2 (5th Cir. 1993) (quoting Sherri A.D. v. Kirby, 975 F.2d 193, 207

n.23 (5th Cir. 1992)). With respect to Z.W., SpringBrook was a hospital facility that was not for

educational purposes. While it had an educational component, that was clearly not the reason for

Z.W.’s admission.

         To the extent that Z.W. required the highly restrictive environment of SpringBrook, the

Court finds such placement inappropriate under the IDEA because it is not “primarily oriented

toward enabling the child to obtain an education.” See Richardson Indep. Sch. Dist. v. Michael Z,

580 F.3d 286, 299 (5th Cir. 2009) (establishing a two-part test for determining when residential

placement is appropriate under the IDEA).5 Although this “is necessarily a fact-intensive inquiry”

requiring consideration of multiple factors, including but “not limited to . . . whether the child was

placed at the facility for educational reasons and whether the child’s progress at the facility is


5
  The Court recognizes that Michael Z addresses when residential placement is appropriate in context of a school
district paying for it under the IDEA—a matter that does not arise until after the Court determines that the District
failed to provide a FAPE. But courts may review “the purpose of the private placement as a proxy for understanding
the nature of the child’s problems, along the way to determining whether the private placement was appropriate.” 580
F.3d at 300. Given the argument that the District’s IEPs are not restrictive enough to provide an appropriate education,
it appears reasonable to touch upon the appropriateness inquiry in the context of LRE.
                                                          55
primarily judged by educational achievement,” id. at 301, the Court finds from the preponderance

of the evidence from the entirety of the record that the SpringBrook placement was primarily for

medical and safety reasons, not so that Z.W. could obtain an education. That Z.W.’s behavioral

issues affected his ability to receive educational benefit does not transform the issues from a med-

ical/safety issue to one primarily for educational purposes. A need for hospitalization is a medi-

cal/safety issue that transcends any educational issue a child might have. The IDEA is not intended

to provide for hospitalization admissions or to pay for them if parents unilaterally choose that

route.

         To the extent Z.W.’s behavioral issues did not require the highly restrictive SpringBrook

environment, Z.W. has not carried his burden to show that the 2019-2020 IEP was inappropriate

based on needing a more restrictive educational environment than the District but less than that

provided by SpringBrook. Similarly, as Z.W. moved on to the Eight Grade, the District’s devel-

oped IEP for the 2020-2021 school year became the operative IEP. The above discussion regarding

SpringBrook applies equally to this IEP. And once Z.W. improved sufficiently to be discharged

from SpringBrook on November 22, 2020, Z.W. has not carried his burden to show that the devel-

oped 2020-2021 IEP was inappropriate based on needing a more restrictive educational environ-

ment available at Avondale. For a residential placement at Avondale to be appropriate under the

IDEA, it “must be 1) essential in order for [Z.W.] to receive a meaningful educational benefit.”

See id. Z.W. has not shown that placement at Avondale is essential for him. When “a child is able

to receive an educational benefit without the residential placement, even if the placement is helpful

to a child’s education,” the residential placement is inappropriate. Id. at 300.

         The placement of Z.W. with the District in Fall of 2017 was of such short duration that it

is difficult to gauge the adequacy of such placement. But it is clear that it was appropriate to place

Z.W. in the District in the Fall of 2016 prior to his temporary move to Europe for the Spring of


                                                 56
2017. Although Z.W.’s behavioral issues worsened in 2019, the Fall of 2016 provides some gauge

as to whether the District could provide for his educational and other needs in the least restrictive

environment. To be sure, much changed with Z.W.’s transition to a new school environment in the

Fall of 2017. The new environment also followed a semester abroad. The Court will not speculate

that the less restrictive educational environment proposed by the District was inappropriate. It in-

stead holds Z.W. to his burden to show that the less restrictive environment was inappropriate. He

has not done that, except to the extent that he required the highly restrictive environment of Spring-

Brook for medical and/or safety reasons, which is itself inappropriate placement under the IDEA

given that it is not primarily oriented toward the education of Z.W.

       As typical for IEPs, the developed IEPs had built-in flexibility should behavioral issues

continue to arise. Although the parents and others may view residential placement as the only

appropriate placement, the Court does not find that Z.W. carried his burden to show that the IEPs

developed by the District deprived him of a FAPE by placing him in a less restrictive environment

than sought by his parents.

       To be sure, Dr. Harkins and others recommended residential placement after Z.W.’s be-

havioral issues escalated in 2019. But even she merely expresses that she “think[s] the residential

placement is appropriate for him.” R. 4403. However, she also stated:

       If they [(the District)] can control his behavior, then I think he can benefit from
       what they’re teaching, but to be able to do that they have to be able to control his –
       his behavior, and he has to be in a state of mind where he’s – where he’s able to
       work on educational activities.
Id. The District exhibited that they could adequately control his behavior the last full semester

Z.W. was with the District. Of course, that alone does not justify confidence in the District-devel-

oped IEPs. But it does show that, when given a reasonable opportunity, the District has personnel

to provide a FAPE despite Z.W.’s behavioral issues. Sure, much has changed since that semester.

Z.W. will not be in the same school at the District. His behavioral issues have worsened. Still,

                                                 57
when considering prospective educational programs for a student receiving his education, as little

as it might be, in a private setting, courts should not easily discount the expertise of local school

officials. Educational methods properly belong with “state and local school officials.” Daniel R.R.

v. State Bd. of Educ., 874 F.2d 1036, 1048 (5th Cir. 1989). Courts do not second guess educational

decisions; instead, they merely determine whether school officials have complied with the IDEA.

Jennie W. ex rel. H.W. v. Comal Indep. Sch. Dist., 32 F.4th 454, 464 (5th Cir. 2022). The Court

will not speculate that the developed IEPs fail to provide a FAPE to Z.W. It instead finds that Z.W.

has not carried his burden to show that placement within the District is inappropriate for him given

his behavioral issues.

       5. Holistic Review of the Four Factors/Indicators

       Now that the Court has addressed each of the four factors individually to some extent, it

should be apparent that the Michael F. test leads to the conclusion that the developed IEPs were

reasonably calculated to provide an educational benefit to Z.W. The test provides a guide through

that fact-intensive inquiry. The Court is free to attribute more or less weight to various factors

depending on the particulars of a given case. Regardless, the Court has the duty to holistically

review and weigh the factors in light of the specifics of this appeal, which is certainly not a run-

of-the-mill IDEA appeal. Given that duty and the complications of this case, the Court provides

the following insights related to this appeal.

       Even though the SEHO found no current ability to assess whether “any benefit has been

demonstrated,” she found that “the weight of the evidence clearly demonstrates that the District

did all that it could in terms of designing an IEP that would provide the Student with a program

that is designed to provide education and related services so that the Student will make progress

in light of the circumstances and the Student’s unique needs.” R. 23. Further, after making those

observations, the SEHO found that the parents had not carried “their burden to establish that the


                                                 58
program developed by the District did not provide FAPE.” Id. Through its virtual de novo review,

the Court agrees that Z.W. has not carried his burden to show by a preponderance of the evidence

that the developed IEPs were insufficient to provide him with a FAPE for the school years in

question.

       While the individualized nature of the IEPs was complicated by the District’s limited ob-

servation opportunities, failures to receive information from the parents and other facilities, and

Z.W.’s increasing behavioral issues, the Court still finds them sufficiently individualized to favor

the District. Conflicting or missing information does not necessarily show that an IEP fails to meet

the reasonably calculated requirement. It is Z.W.’s burden to show that a developed IEP does not

meet that requirement. This includes showing that it was unreasonable for the District to lack any

particular relevant information needed to develop a sufficient IEP. Z.W. has not made any such

showing.

       Furthermore, that a developed program may not satisfy every medical need of the student,

or every desire of his parents, does not make it inappropriate. IEPs concern the educational needs

of students, but they are not required to provide perfect educational opportunities. Nor are they

required to address every desire of a parent or every medical need. The relevant inquiry is whether

they are reasonably calculated to enable the student to receive educational benefit and to make

progress appropriate given the student’s circumstances. The Court affords great weight to the Dis-

trict developing multiple individualized educational programs for Z.W. covering two full school

years. This was no easy task, and while the District would have preferred to have greater infor-

mation to facilitate the development of the programs, Z.W. has not shown that any missing infor-

mation affected the individualized nature of the programs.

       Similarly, the stakeholder/collaboration factor likewise favors the District although Z.W.

asserts some procedural issues that the Court will address in due course. Given the nature of the


                                                59
circumstances, this factor in conjunction with the individualized factor provides strong support for

finding the developed IEPs sufficient to provide Z.W. a FAPE.

       Further, although there was no way to definitively know whether the developed IEPs would

produce positive academic and non-academic benefits, the prospective nature of the IEPs, in addi-

tion to earlier benefits achieved through a District-developed IEP the last full semester the District

educated Z.W., indicates that this factor more likely than not favors the District. Based upon the

evidence presented, the Court finds the developed IEPs were reasonably calculated to enable Z.W.

to make progress in light of his unique circumstances. Under the IEPs, it appears reasonably cal-

culated that he would receive both academic and nonacademic benefits from his educational place-

ments. This important factor is at worst neutral to the District-developed IEPs. Because Z.W. has

not shown it to be favorable to him, the Court weighs it favorably to the District.

       At this point, even ignoring the last factor, a holistic view of the Michael F. factors weighs

in the District’s favor. The fact that the District’s developed IEPs provide a less restrictive envi-

ronment for educating Z.W. adds additional support. But the LRE factor is complicated by the

escalation of behavioral issues of Z.W. in 2019 through his discharge from SpringBrook in No-

vember 2020. The family points to this time period and recommended placements stemming there-

from as definitively establishing that the District’s IEPs inappropriately place Z.W. in an educa-

tional environment less restrictive than required to control his behavioral issues. But Z.W. has not

carried his burden on this issue.

       For the time periods before and after his admission to SpringBrook, Z.W. has not shown

by a preponderance of the evidence that the developed IEPs placed him in an inappropriate educa-

tional setting because it was less restrictive than it should be. Even for the time he was admitted to

SpringBrook, Z.W. has not shown by a preponderance of the evidence that the less restrictive

District setting was inappropriate as an educational setting—he merely provides evidence that


                                                 60
SpringBrook was recommended for safety and medical reasons due to his escalated behavioral

issues. In these circumstances, the LRE factor adds further support for the District’s IEPs covering

the time Z.W. was not in SpringBrook. And even for the time period that Z.W. was in SpringBrook,

he has not shown this factor to significantly alter the calculus because the hospitalization was for

medical and safety reasons. A student’s hospitalization does not mandate a finding that a school

district has failed to provide the student with a FAPE. See A.A. v. Northside Indep. Sch. Dist., 951

F.3d 678, 689-91 (5th Cir. 2020).

       In short, the Michael F. factors weigh in favor of finding that the developed IEPs are rea-

sonably calculated to provide Z.W. with a meaningful educational benefit. Z.W. has not carried

his burden to show otherwise. Nor has he otherwise carried his burden to show that the programs

prepared by the District deprived him of a FAPE.

       6. Asserted Substantive Issues

       Rather than address substantive issues through the Michael F. test, Z.W. asserts four dis-

tinct substantive violations, albeit with one focusing on the Michael F. test in the posture of omit-

ting facts leading to improper conclusions. While the preceding consideration of the core require-

ment of any substantive challenge in this appeal might foreshadow the Court’s rulings on the as-

serted substantive issues, it appears prudent to directly address them.

               a. Legal Error Regarding District’s Expert Witness

       Z.W. first asserts that the SEHO erred by giving greater deference to the testimony of the

District’s expert witness over his witnesses.

       Even considering that some consider residential placement recommended, Z.W. has not

carried his burden to show that any IEP prepared and proposed by the District does not provide a

FAPE. Although Z.W. takes issue with considering the District’s hired expert, see ECF No. 16 at

7-10, the Court finds no need to rely on the expert’s testimony to resolve any aspect of this appeal.


                                                 61
Disregarding the testimony does not alter the failure of Z.W. to carry his burden. Even without

testimony from the expert, the Court finds that the preponderance of the evidence shows that the

District developed appropriate and sufficient IEPs and thus did not deny a FAPE to Z.W. Never-

theless, the Court finds no legitimate basis to disregard the expert testimony. Considering it natu-

rally provides additional support for the Court’s ultimate findings.

       Relying on out-of-jurisdiction caselaw, Z.W. sets out various legal principles that he pre-

sumably believes will help his case. See id. at 7. That reviewing courts, however, (1) may reject a

credibility determination when there is non-testimonial, extrinsic evidence that supports a contrary

credibility determination; (2) should not give greater weight to testimony of district staff than other

witnesses; and (3) need not conclude that an IEP is appropriate because a teacher or other profes-

sional testifies that it is appropriate, see id., does not compel reviewing courts to view or weigh

the evidence in any particular manner. Reviewing courts take a holistic approach and review the

entirety of the evidence in deciding an IDEA appeal. As described in the briefing, the caselaw

relied upon by Z.W. does not mean that reviewing courts must reject such a credibility determina-

tion, give greater weight to non-district witnesses, or conclude that an IEP is inappropriate.

       Z.W. quarrels with the SEHO giving greater deference to the testimony of the District’s

expert witness, Dr. Hughes, over his witnesses. ECF No. 16 at 7-10. The SEHO does state that

“[c]redible testimony established that the goals as set forth in the IEP, and based upon the

PLAAFPs, to the extent the District could obtain information, are appropriate for this Student.” R.

16. While the SEHO does not specifically identify the witnesses she found credible, the decision

as a whole reflects that she relied on evidence and testimony from the District in finding that the

District was able to provide a FAPE to Z.W. And as mentioned earlier, the SEHO twice cited the

testimony of Dr. Hughes. The testimony of the expert is amply supported by the record. Z.W.

merely disagrees that the expert found the IEPs appropriate even though they lacked residential


                                                  62
placement.

       Z.W.’s complaints against the expert testimony begin with her failure to meet, teach, eval-

uate, or observe him. ECF No. 16 at 8. But the expert’s opinions are consistent with District per-

sonnel who did meet, teach, evaluate, or observe him. That complaint provides no basis for dis-

crediting the expert’s opinions.

       Z.W. also complains that the expert opinions are unsupported and factually inaccurate at

times. Id. But the opinions are consistent with other evidence of record. And while Z.W. argues

that it is factually incorrect to state that he “would remain in a self-contained setting and would

not be transitioning to other classrooms,” id. (citing R. 5537), the expert actually testified that Z.W.

would “initially” remain in a self-contained setting “with a high staff to student ration,” R. 5537.

This is factually accurate and nowhere in the cited testimony does the expert state that Z.W. would

not transition to other classrooms.

       Z.W. next complains that the expert opined that the District’s IEPs were appropriate based

on the available data while permitting the District to later modify the programs after obtaining

additional information. ECF No. 16 at 8 (citing R. 5446-47). This complaint dovetails with Z.W.’s

next argument that the “SEHO improperly considered testimony that the IEPs and BIP would be

changed upon Z.W.’s enrollment at SCUCISD.” Id. at 9 (citing R. 20-21). The Court, however,

finds no impropriety in considering evidence that developed IEPs and BIPs are subject to modifi-

cation as more data becomes available. The evidence shows that such programs and plans are not

stagnant—they are subject to modification as circumstances change. The expert’s testimony

merely reflected that truism. See R. 5446. That an IEP is susceptible to change with additional

information does not mean that it is inappropriate as drafted.

       The evidence considered by the SEHO differs from the retrospective testimony criticized

in the case Z.W. relies upon, R.E. v. New York City Department of Education, 694 F.3d 167 (2d


                                                  63
Cir. 2012). That case involved “testimony that certain services not listed in the IEP would actually

have been provided to the child if he or she had attended the school district’s proposed placement.”

See 694 F.3d at 185. The testimony that Z.W. complains about merely states that District staff

would gather additional data and make appropriate modifications as necessary after the student

returned to the District. See ECF No. 16 at 9 (relying on R. 20-21). This is just a reflection of the

nature of IEPs and BIPs.

       To be clear, the Court does not find the developed IEPs proper because they allow for

necessary modifications. The IEPs are proper regardless. The ability to modify reflects the nature

of prospective educational programs. An IEP is not deficient merely because it might be changed

when circumstances change. Instead, the Court has looked at the various IEPs and has determined

them to be sufficient based upon a preponderance of the evidence as a whole. At the very least,

Z.W. has not carried his burden to show otherwise.

       The nature of IEPs and BIPs demand some flexibility for modification should needed

changes become apparent. Such flexibility does not mean that a developed IEP is insufficient to

provide a FAPE. It simply recognizes the reality that changes may be needed as more data is avail-

able. This reality is even more important for a student like Z.W. who has a history of needing

adjustments to his IEPs.

       Z.W. contends that a “merely good enough” IEP does not equate to an IEP that “is reason-

ably calculated to enable a child to make progress appropriate in light of the child’s circum-

stances.” ECF No. 16 at 9. From the Court’s view, the SEHO was not saying that the IEPs devel-

oped by the District were merely good enough until they could be modified after obtaining addi-

tional information. To the contrary, the SEHO specifically found that

       the weight of the evidence clearly demonstrates that the District did all that it could
       in terms of designing an IEP that would provide the Student with a program that is
       designed to provide education and related services so that the Student will make
       progress in light of the circumstances and the Student’s unique needs.
                                                 64
R. 23. She then found that the family “did not meet their burden to establish that the program

developed by the District did not provide FAPE.” Id.

       Z.W. also complains that the developed IEPs did not appropriately account for transitions

that are a significant trigger for him. ECF No. 16 at 10. The District, however, was well aware of

the impact that transitions would have on Z.W. Still, it strived to provide an educational program

in the least restrictive environment so as to allow interactions with non-disabled peers. Rather than

eliminate such possibility at the outset, the developed IEPs provided enough flexibility to reduce

transitions should they prove to be problematic.

               b. Applied Wrong Legal Standard

       Z.W. next argues that the SEHO applied the wrong legal standard. ECF No. 16 at 11-12.

He premises this error on his view that the SEHO “incorrectly held the IEP to the standard of

whether it was appropriate based on the information available to the District and not whether the

IEP would enable the child to make progress in light of the child’s circumstances.” Id. at 11. The

Court disagrees that the SEHO applied the wrong standard. The appropriateness of all IEPs is

judged based on the information available to the District. Unavailable information simply is not

incorporated into a developed IEP. It seems that Z.W. wants to use semantics to allege error when

none exists. Furthermore, even if the SEHO applied an improper standard, this Court in its virtual

de novo review has applied the proper standard as reflected throughout this lengthy decision. This

alleged substantive violation provides no basis for reversing the decision of the SEHO or otherwise

altering this Court’s decision.

               c. Omitting Facts

       Z.W. next argues that the SEHO erred by omitting critical facts, leading to improper con-

clusions. ECF No. 16 at 12-15. This asserted error provides Z.W.’s arguments as to the Michael

F. factors. See id. at 12-13. As this Court has fully and exhaustedly considered the record as a


                                                 65
whole in this appeal while analyzing the Michael F. factors, the Court’s virtually de novo review

has remedied any potential error posed by omitting critical facts. This is not to say that the Court

finds any such error—only that, even if the SEHO had erred in this regard, any such error has been

remedied. The Court will nevertheless touch upon some of the specific omissions asserted by Z.W.

       With respect to the individualized factor, Z.W. argues that the SEHO gave no consideration

to his need for a residential placement. ECF No. 16 at 13. First, residential placement did not

become an issue until the parents placed Z.W. at SpringBrook. And at that point, the District was

well aware that the parents wanted residential placement and that Z.W. was at SpringBrook. More-

over, the SEHO recognized Z.W.’s September and October 2019 hospitalizations, as well as the

residential placement at SpringBrook. See R. 10 ¶¶ 26-29. She also recognized that Dr. Harkins

had recommended full-time ABA therapy or alternatively, a residential placement, while also not-

ing that Dr. Harkins had testified that home behavioral issues was the basis for that recommenda-

tion. See id. ¶ 27.She further accurately noted that SpringBrook records and other testimony indi-

cated that SpringBrook was considered as a hospitalization. R. 10-11 ¶ 29. From a review of the

SEHO’s decision as well as the record as a whole, the Court disagrees that the SEHO gave no

consideration to the evidence regarding a need for residential placement. It appears that the SEHO

disagreed with such a need, found other evidence more persuasive, or recognized that IEPs may

still be appropriately individualized even when a need for hospitalization arises.

       As for the LRE factor, Z.W. complains that the SEHO considered his access to general

education without even considering whether general education is appropriate for him. ECF No. 16

at 13. Z.W. also complains that the SEHO did not consider evidence as to when he would gain

access to the general education classroom thus making it impossible to determine what program

he would actually receive at the District. Id. at 13-14. The Court does not find that these complaints

amount to a substantive challenge to the developed IEPs. The District recognized concerns with


                                                 66
Z.W. transitioning back to the District, to a new school, to new teachers, and surely understood

concerns about him transitioning to general education for two classes once he had transitioned

back. The prospective goal is for such transitions. But even if Z.W. ultimately is unable to achieve

that goal, he is still in a less restrictive environment at the District than in any residential placement

sought by his parents. The Court has fully considered these complaints as to the LRE factor.

        With regard to the benefits factor, Z.W. complains that the SEHO concluded without anal-

ysis that the factor is difficult to assess without it being implemented. ECF No. 16 at 14. He merely

states that IEPs need not be implemented to make such assessments. The Court agrees with that

statement, but also agrees that the SEHO properly noted that assessment of this factor is more

difficult without implementation. Indeed, this Court has undertaken the assessment of this factor.

The Court sees no error with respect to the benefits factor.

                d. Omission of Transition Plan

        Lastly, Z.W. argues that the SEHO erred in finding the failure to include a transition plan

did not diminish the sufficiency of the IEP. ECF No. 16 at 15-16. Z.W. essentially asks the Court

to give no deference to the SEHO decision on this point. Id. at 16. Because the Court gave no

deference to SEHO on this point and has addressed the issue earlier, this argument compels no

further consideration. The Court, however, will add that this is a procedural rather than substantive

error. And like any other noncompliance with procedural requirements of the IDEA, this alleged

noncompliance does “not constitute a violation of the right to a FAPE” absent a showing of sub-

stantive harm. Klein Indep. Sch. Dist. v. Hovem, 690 F.3d 390, 396 (5th Cir. 2012); accord A.A. v.

Northside Indep. Sch. Dist., 951 F.3d 678, 685 (5th Cir. 2020). Z.W. has not carried his burden to

show substantive harm.

        7. Substantive Conclusions

        From a substantive standpoint—both as argued by Z.W. and as required by Michael F.—


                                                   67
the Court finds that Z.W. has not carried his burden to show that the District deprived him of a

FAPE for the school years in question. The Court finds from the preponderance of the evidence,

after conducting a holistic review of the Michael F. factors, that the weight of the evidence sup-

ports the District. Because Z.W. has not shown deprivation of a FAPE, there is no need to assess

whether OFA, SpringBrook, or Avondale were appropriate placements. But, with respect to

SpringBrook, the Court would clearly find it to be an inappropriate placement if it were to find

that the District deprived Z.W. of a FAPE during the period of his hospitalization at SpringBrook.

Further, the Court has also found that Z.W. has not carried its burden to show that residential

placement at Avondale was essential and thus not an appropriate placement either.

C. Procedural Issues

       The alleged procedural noncompliance is threefold—parental participation, predetermined

outcome, and lack of adequate notice. See ECF No. 16 at 5-7. The District argues that even if the

Court were to find a procedural violation, “liability cannot be based solely on a procedural viola-

tion of the IDEA.” ECF No. 18 at 19. Relying on 20 U.S.C. § 1415(f)(3)(E)(ii) and Fifth Circuit

precedent, it identifies three circumstances when a procedural error may rise to the level of an

IDEA violation. See id.

       As recognized by the Fifth Circuit, “not all procedural violations are transformed into sub-

stantive violations.” Dallas Indep. Sch. Dist. v. Woody, 865 F.3d 303, 317 (5th Cir. 2017). To

succeed on a procedural basis, Plaintiff must demonstrate that “a procedural violation of the IDEA

produced substantive harm.” Adam J. ex rel. Robert J. v. Keller Indep. Sch. Dist., 328 F.3d 804,

812 (5th Cir. 2003). In other words, even when a plaintiff shows that the determination of his IEP

“was procedurally deficient in some respects,” he must still establish “that any procedural defi-

ciency resulted in a loss of educational opportunity or infringed his parents’ opportunity to partic-

ipate in the IEP process.” Id.


                                                 68
        Furthermore, since amendments that became effective on July 1, 2005, 20 U.S.C. §

1415(f)(3)(E)(ii) states:

        In matters alleging a procedural violation, a hearing officer may find that a child
        did not receive a free appropriate public education only if the procedural inadequa-
        cies--
           (I) impeded the child’s right to a free appropriate public education;
           (II) significantly impeded the parents’ opportunity to participate in the deci-
           sionmaking process regarding the provision of a free appropriate public educa-
           tion to the parents’ child; or
           (III) caused a deprivation of educational benefits.
Because Adam J. predates the amendments, the statute provides an additional means for Plaintiff

to establish substantive harm by showing that a procedural deficiency impeded Z.W.’s right to a

FAPE. See Dallas Indep. Sch. Dist. v. Woody, 178 F. Supp. 3d 443, 474 and n.9 (N.D. Tex. 2016),

aff’d in part, rev’d in part, 865 F.3d 303 (5th Cir. 2017). Even when a procedural violation has

occurred, it is only actionable when it satisfies one of the three actionability criteria set forth in 20

U.S.C. § 1415(f)(3)(E)(ii). Leigh Ann H. v. Riesel Indep. Sch. Dist., 18 F.4th 788, 800-01 (5th Cir.

2021); A.A. v. Northside Indep. Sch. Dist., 951 F.3d 678, 685 (5th Cir. 2020).

        The SEHO addressed the contention that the District denied Z.W. a FAPE through proce-

dural violations of the IDEA. See R. 23. The SEHO found that “the record is clear that parents

were provided information in advance of all the ARD meetings, and participated in all but the

September 2020 meeting. Id. The Court finds that this is factually accurate. With respect to that

missed meeting, the SEHO found that the record “demonstrates that the issue was not that the

parent was unable to attend, but that he wanted to wait until the [due process] hearing was over.”

Id. The Court also finds this to be factually accurate. At no point does either parent state any reason

for being unable to attend the September 2020 meeting—they simply wanted the meeting to occur

after the due process hearing scheduled for October 2020.

        School districts have an obligation to formulate an IEP for each school year. See 20 U.S.C.
                                                   69
§ 1414(d)(2)(A). In September 2020, the District informed the parents of the need for an IEP for

the 2020-2021 school year, which had commenced in August 2020. The response from the family’s

representative requested that the District delay any such ARDC meeting until after the due process

hearing to be scheduled in October 2020 and further explained that the parents had no reasonable

expectation that the meeting would be successful and that the due process hearing was the proper

mechanism for resolving any dispute. R. 3116. Neither explanation provides a reasonable basis for

delaying the formulation of an IEP for the 2020-2021 school year. At that point, the due process

hearing concerned prior IEPs only. There was no existing dispute as to any IEP for the 2020-2021

school year because no IEP had been formulated for that year yet. Even if the parents lacked a

reasonable expectation of success, such expectations provide no reasonable reason to delay for-

mulation of an IEP at an ARDC meeting. Three times, the father thereafter requested the District

to delay the meeting, but he identified no conflict that would prevent his attendance—he merely

relied on the now scheduled October 2020 due process hearing. R. 3115-16. The District did not

ignore the request to delay; it instead specifically informed the parents that the meeting was needed

to formulate an IEP for the current school year, because none was in place. R. 3115.

       The Fifth Circuit has not addressed whether a failure to accommodate a request to delay an

ARDC meeting may constitute a denial of a FAPE. But Adam J. places the burden on the student

and his or her family to demonstrate substantive harm from a procedural violation. As part of that

burden, Z.W. must show that request was reasonable under the circumstances. See J.N. v. D.C.,

677 F. Supp. 2d 314, 322 (D.D.C. 2010) (recognizing that “a failure to accommodate a parent’s

reasonable request to reschedule” may constitute “a denial of a FAPE”). And Z.W. has not carried

that burden. Without a reasonable request to delay or reschedule, the Court finds no substantive

harm from a school district proceeding with a needed ARDC meeting that parents had declined to

attend. Absent a showing that the request for delay was reasonable, a school district’s failure to


                                                 70
accommodate a request to delay or reschedule does not seriously infringe on a parent’s opportunity

to participate in the IEP formulation. Under the facts here, Z.W. has not shown that proceeding

without a parent at the September 30, 2020 meeting impeded his right to a free appropriate public

education. Nor has he shown that proceeding without a parent caused any deprivation of educa-

tional benefits.

        Proceeding with an ARDC meeting without a parent is not “a per se actionable violation

of IDEA as a significant impediment to participation in the decision-making process.” Cf. Leigh

Ann H. v. Riesel Indep. Sch. Dist., 18 F.4th 788, 801 (5th Cir. 2021) (finding no per se actionable

violation when school excluded an adult student from a manifestation determination). The student

or his family has the burden to show substantive harm from any procedural violation. Id. That

burden has not been carried here.

        The SEHO also found that Z.W. had not “established that any procedural violation of the

IDEA exists in this matter.” R. 23. The Court thus examines the procedural violations raised in the

instant appeal. Of course, the only issues preserved for appeal are those raised before the SEHO.

See Leigh Ann H. v. Riesel Indep. Sch. Dist., 18 F.4th 788, 801 n.15 (5th Cir. 2021).

        As Z.W. points out, see ECF No. 16 at 5, he raised procedural issues to the SEHO. See R.

459-60 (predetermined program from reconvened May 31, 2019 ARDC), 472-73 (insufficient no-

tice regarding September 2020 ARDC meeting and predetermined placement as shown by a failure

to discuss parental objections and a failure to have his special education teacher at meeting). He

argues that the District refused to discuss recommended placement, answer questions about qual-

ifications of staff, or consider residential programming. ECF No. 16 at 5-6 (citing R. 668, 671,

4491-92). However, the cited record does not support those arguments.

        The District (1) noted the father’s disagreement with provided services; (2) noted staff were

“empathetic to the parent’s hesitations,” while expressing confidence that Z.W. would make


                                                 71
progress in the school setting; and (3) continued the ARDC meeting so that “both parties” could

“gather additional data in order to reach an agreement.” R. 668. This does not reflect a refusal to

discuss recommended placement.

       With respect to qualifications of staff, when the father asked about staff qualifications, the

District said “it would be teachers, paraprofessionals or a combination of both.” R. 671. It also

clarified that “a 1:3 ratio” means “the number of staff members to students.” Id. This record does

not reflect a refusal to answer the father’s questions. If the father wanted more detail about staff

qualifications, nothing of record indicates that he was unable to ask for it.

       With respect to the alleged refusal to consider residential programming, a director for the

District was asked: “And are you aware that on several occasions the W.’s requested consideration

of placement for [Z.W.] at a non-public residential facility in Texas, correct?” R. 4489. She ini-

tially answered: “At One for Autism? Yes, ma’am.” Id. When it was clarified that OFA was “non-

public day placement” that had also been requested, the focus of the question became “placement

at Bayes or Whispering Hills,” to which she answered: “That’s not through an ARD Committee.”

R. 4490. She ultimately testified that she did not visit either of those facilities, send them records,

or speak to anyone there because Z.W. “had an appropriate placement” at the time in question. R.

4491-92. To the extent this might be construed as a refusal to consider residential placement, it

seems confined to circumstances when the student already had an appropriate placement, and it

was outside the context of any ARDC. The Court does not see this as a procedural deficiency that

resulted in any substantive harm to Z.W. At the very least, Z.W. has failed to show any substantive

harm from any failure to consider placement at Bayes or Whispering Hills.

       Z.W.’s first predetermination issue is limited to the reconvened May 31, 2019 ARDC. See

ECF No. 16 at 6 (citing R. 459-60). But that was the second of three ARDC meetings, which

culminated in an IEP on June 12, 2019, that provided ESY for the summer of 2019. Z.W. has not


                                                  72
carried his burden to show that the District predetermined anything with respect to the May 31,

2019 ARDC. Nor has he carried his burden to show that he was substantively harmed by any

predetermination at that meeting.

        Z.W. next argues that the District failed to provide adequate notice of the September 30,

2020 ARDC meeting in violation of 34 C.F.R. § 300.321(a)(6) and (c) and 34 C.F.R. §

300.322(b)(1). ECF No. 16 at 6. He argued to the SEHO that the District’s failure to comply with

34 C.F.R. § 300.322(a)(1) and (b)(1) seriously infringed on his parents’ ability to meaningfully

participate in the September 2020 ARDC meeting. R. 472. Section 300.322(a) requires school

districts to

        take steps to ensure that one or both of the parents of a child with a disability are
        present at each IEP Team meeting or are afforded the opportunity to participate,
        including—
               (1) Notifying parents of the meeting early enough to ensure that they
               will have an opportunity to attend; and
               (2) Scheduling the meeting at a mutually agreed on time and place.
Z.W. asserts no violation of § 322(a)(2) so any violation of that provision is not before the Court.

        Section 300.322(b)(1) addresses what must be included in the notice required under (a)(1).

Among other things not relevant here, the notice must “(i) Indicate the purpose . . . of the meeting

and who will be in attendance . . ..” Z.W. argued to the SEHO that his parents lacked notice as to

“who would be attending or what the purpose of the meeting was beyond that it was an ‘annual’

ARDC.” R. 472. He does not explain how any missing information affected his parents’ ability to

meaningfully participate in the September 2020 meeting or otherwise caused him substantive

harm. See ECF No. 16 at 6. While the purpose of that meeting appears clear enough from the

information provided, the notice does fail to identify those expected to attend.

        This failure requires brief consideration of 34 C.F.R. § 300.321, which addresses the com-

position of the “IEP Team.” This provision flows directly from 20 U.S.C. § 1414(d)(1)(B)(vi),

                                                 73
which defines “IEP Team” as “a group of individuals composed of” up to seven types of individ-

uals, including “at the discretion of the parent or the agency, other individuals who have knowledge

or special expertise regarding the child, including related services personnel as appropriate.”

       In this case, Z.W.’s relevant IEP Team was first put together in May and June 2019. Z.W.

makes no notice issue about any ARDC meeting other than the one held on September 30, 2020.

And for that one, he merely argues that he had “no notice of who would be attending or the purpose

of the meeting . . . beyond that it was to determine the Student’s program for 2020-2021. ECF No.

16 at 6. Consequently, at most, the alleged procedural issue affects only the IEP for the 2020-2021

school year. Furthermore, even accepting that there were procedural deficiencies in the notice re-

garding the September 30, 2020 meeting, Z.W. has not carried his burden to show substantive

harm from any deficiency. The various ARDC meetings addressed similar issues regarding Z.W.

Both the parents and the District understood the process. The parties’ lengthy and ongoing educa-

tional relationship cuts against finding substantive harm resulting from alleged notice deficiencies

limited to one ARDC meeting that the parents chose to miss. At the very least, the District provided

the parents an adequate opportunity to participate—the parents simply chose not to attend. They

had also failed to provide requested updates. The Court’s independent research has revealed no

instance of any federal decision addressing such alleged violations of the regulations, let alone,

finding substantive harm in such circumstances.

       Z.W. next argues that he “alleged and provided evidence that the June 2019 ARDC proce-

durally violated the IDEA by being unduly constituted without participation of a special education

teacher working with the Student, which at the time would have been a teacher from Einstein

Acamdey [sic] at Springbrook.” ECF No. 16 at 6 (citing R. 718-19). Despite the reference to June

2019, Z.W. clearly intends to challenge the November 19, 2019 ARDC meeting. First, the cites to

the record refer to that meeting, not the June 2019 meeting. Second, Z.W. was seeking placement


                                                74
at OFA, not SpringBrook, in June 2019. Third, Z.W. laters refers to the November meeting in the

same argument. The Court need not consider this alleged procedural defect because Z.W. has not

shown that he presented it to the SEHO. His cites to the record relate to the May 31, 2019 meeting,

and the one held in September 2020. See ECF No. 16 at 5 (citing to R. 459-60, 472-73). Neither

of these cites to the record raise an issue with respect to the November 19, 2019 ARDC meeting.

See R. 459-60 (discussing May 31, 2019), 472-73 (discussing September 30, 2020).

        In any event, Z.W. argues that an “IEP meeting in which the team considers a placement

in a private school must include a representative of the school or facility.” ECF No. 16 at 6 (citing

34 C.F.R. § 300.325(a)(2)). Section 300.325 addresses private school placements by public agen-

cies. “Before a public agency places a child with a disability in, or refers a child to, a private school

or facility, the agency must initiate and conduct a meeting to develop an IEP for the child in ac-

cordance with §§ 300.320 and 300.324.” Id. § 300.325(a)(1). The public agency must also “ensure

that a representative of the private school or facility attends the meeting.” Id. § 300.325(a)(2).

        Relatedly, Z.W. argues that “[t]he exclusion of such teachers prevented the November

ARDC from being duly constituted under the IDEA.” ECF No. 16 at 6 (citing S.H. ex rel. A.H. v.

Plano Indep. Sch. Dist., 487 F. App’x 850, 865 (5th Cir. 2012) (per curiam)). That argument,

however, is not necessarily supported by S.H. In S.H., the district court agreed with the SEHO that

the composition of an ARDC meeting “did not meet procedural requirements” of 20 U.S.C. §

1414(d)(1)(B). 487 F. App’x at 864. The Fifth Circuit agreed that the meeting composition was

“procedurally defective because it excluded a required member.” Id. at 865. But, because the meet-

ing in question lacked a teacher from both the public and private schools, the Fifth Circuit did not

decide whether a district teacher “who would soon function” as the student’s teacher would suffice

alone. Id.

        The November 19, 2019, ARDC meeting was well attended. See R. 717 (listing thirteen


                                                   75
attendees). Although the meeting lacked anyone associated with SpringBrook or its Einstein Acad-

emy, district attendees included two special education teachers, a general education teacher, the

District Administrator, the Director of Special Education, and five individuals who had conducted

assessments. See id. The Court agrees with the Fifth Circuit’s suggestion that a soon-to-be teacher

satisfies the requirements of § 1414(d)(1)(B). To hold otherwise would mean that a school district

could never comply with the requirements when forming the initial “IEP Team” prior to a child

becoming a student at the district. Of course, both the parents and the school district have discretion

to include representatives of private schools who have “knowledge or special expertise regarding

the child.” See 20 U.S.C. § 1414(d)(1)(B)(vi). Nothing indicates that Z.W. exercised such discre-

tion or voiced any concern or objection at the meeting that SpringBrook was not represented.

        Z.W. argues that “[t]o the extent SCUCISD did not believe a representative from Einstein

Academy was a mandatory member, such is indicative of a predetermination and a failure to mean-

ingfully consider Student’s residential placement, nor could an IEP based on assessment and per-

formance be created.” ECF No. 16 at 6-7. The Court disagrees that the District’s failure to invite

an Einstein Academy representative reflects any predetermination. Nor does it reflect a lack of

meaningful consideration of residential placement. It does not preclude the District from creating

an IEP based on assessment and performance. School districts are not required to create an ideal

educational program. They must only offer an IEP that is reasonably calculated to enable the stu-

dent to make appropriate progress given the student’s individual circumstances. Z.W. has not car-

ried his burden that the District failed in that regard.

        Given Z.W.’s “parents’ active participation in the crafting of his IEPs and the absence of

any demonstrable ‘lost educational opportunity,’” one may “conclude that the procedural require-

ments of the IDEA were substantially satisfied,” even if there may be some procedural issues.

Adam J. ex rel. Robert J. v. Keller Indep. Sch. Dist., 328 F.3d 804, 812 (5th Cir. 2003). Z.W.,


                                                   76
furthermore, has not established by a preponderance of the evidence that any procedural deficiency

impeded his right to a FAPE. In this case, of course, no parent attended the September 30, 2020

ARDC meeting regarding the IEP for the 2020-2021 school year. But the preponderance of the

evidence shows that such absence was by their own choice.

       When parties have engaged in a longstanding effort to develop multiple individualized ed-

ucational programs for a student, it is not surprising that there may be some procedural missteps.

But a procedural misstep alone does not warrant relief. The student must show that a procedural

misstep produced substantive harm. On the current showing in this case, the Court will not disturb

the findings of the SEHO. Z.W. has not shown that any procedural deficiency resulted in a lost

educational opportunity, infringed any opportunity of his parents to participate in the IEP process,

or impeded his right to a FAPE.

D. Summary and Appropriate Relief

       Undoubtedly, this is a difficult case for all involved. But it is helpful to remember the

purposes of the IDEA. And important to those purposes is placing the burden on the student. Based

on the preponderance of the evidence, the Court has made an independent decision while according

due weight to the findings of the SEHO. Under that review, it finds that, to the extent the District

made any procedural error, Z.W. has not carried his burden to show that such error produced sub-

stantive harm. It further finds that Z.W. has not carried his burden to show that the District denied

him a FAPE during the relevant school years. The Court thus has no occasion to determine whether

his unilateral placement at other facilities was proper.

       Having considered relevant factors holistically, the Court finds that the preponderance of

the evidence shows that educating Z.W. in regular classes cannot be achieved satisfactorily and

the District has tailored Z.W.’s special education and services to his unique needs even with the

plan to transition him into general education classes for two electives. Of course, in reviewing the


                                                 77
prospective judgment by the school district the Court appreciates that the inquiry is whether the

Court finds the IEPs reasonable, not whether it regards them as ideal. The preponderance of the

evidence shows that the challenged individualized education programs are reasonably calculated

to enable Z.W. to receive a meaningful and appropriate educational benefit, to make progress ap-

propriate in light of his circumstances, and to mainstream him to the maximum extent possible.

       With those findings on the preponderance of the evidence, the Court must next determine

what relief is appropriate. See 20 U.S.C. § 1415(i)(2)(C). Appellant asks the Court to (1) reverse

the determination of the SEHO; (2) find that the District denied him a free appropriate public

education; (3) find that he is entitled to reimbursement in connection with his attendance at One

for Austin, SpringBrook, and Avondale; (4) award reasonable attorneys’ fees; and (5) award inter-

est. ECF No. 16 at 19-20. Based on the preponderance of the evidence, and the failure of Z.W. to

carry his burden, such relief is clearly not appropriate.

       Conversely, the District asks the Court to affirm the decision of the SEHO and deny Z.W.’s

requests for relief in their entirety. See ECF No. 18 at 30. And, based on the preponderance of the

evidence, and the failure of Z.W. to carry his burden, the Court finds it is appropriate to affirm the

findings and determination of the SEHO. Such affirmance is appropriate in light of the purposes

of the IDEA, which is principally to ensure that public schools provide eligible students with a

free appropriate public education.

                                        IV. CONCLUSION

       For the foregoing reasons, the Court affirms the Decision of the Hearing Officer. By sepa-

rate document, the Court will enter judgment affirming that decision.

       IT is so ORDERED this 26th day of January 2024.



                                       JASON PULLIAM
                                       UNITED STATES DISTRICT JUDGE

                                                  78
